Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 1 of 58 Page ID #:1



  1 BLADY WORKFORCE LAW GROUP LLP
    I. BENJAMIN BLADY — Cal. Bar No. 162470
  2
    5757 Wilshire Boulevard, Suite 535
  3 Los Angeles, CA 90036
    Phone: (323) 933-1352
  4
    Email: bblady@bwlawgroup.com
  5
    LESCHES LAW
  6
    LEVI LESCHES — Cal. Bar No. 305173
  7 5757 Wilshire Boulevard, Suite 535
    Los Angeles, CA 90036
  8
    Phone: (323) 900-0580
  9 Email: levi@lescheslaw.com
10
   ATTORNEYS FOR
11 Plaintiff DOE, individually, and for
12 PEOPLE OF THE STATE OF CALIFORNIA
13
14
                    IN THE UNITED STATES DISTRICT COURT
15
          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
16
17
   DOE, individually, and on behalf of all   Class Action
18 others similarly situated;
19                                           COMPLAINT FOR:
                       Plaintiffs,
20                                           (1) LANHAM ACT VIOLATIONS;
21        v.
                                             (2) UCL § 17200 INJUNCTION
22 UNIVERSITY OF SOUTHERN                        (CAL B&P § 14259);
23 CALIFORNIA, a California Not-for-
   Profit Corporation; DOES 1 through        (3) TITLE IX DISCRIMINATION /
24                                              RETALIATION;
   20.
25
                                             (4) NEGLIGENT HIRING /
                      Defendant.
26                                               SUPERVISION / RETENTION
27
28

                      COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 2 of 58 Page ID #:2



  1                                                (5) RESCISSION AND/OR
                                                       AVOIDANCE AND/OR UCL
  2
                                                       § 17200 INJUNCTION
  3                                                    AGAINST FRAUDULENTLY
                                                       INDUCED AND/OR
  4
                                                       UNCONSCIONABLE
  5                                                    ARBITRATION AGREEMENT;
  6                                                (6) [CLASS CLAIM]
  7
                                                      AVOIDANCE AND/OR UCL
  8                                                   § 17200 INJUNCTION
  9                                                   AGAINST FRAUDULENTLY
                                                      INDUCED AND/OR
 10                                                   UNCONSCIONABLE
 11                                                   ARBITRATION
                                                      AGREEMENTS
 12
 13                                                JURY TRIAL DEMANDED
 14
 15
 16
      Plaintiff DOE, in his/her personal capacity, and on behalf of all others similarly
 17
      situated, and demanding a Jury Trial on all Causes of Action, alleges:
 18
                                 JURISDICTION & VENUE
 19
            1.     Plaintiff DOE (“DOE”), at the time of filing, and at all times relevant
 20
      to the Lanham Act Cause of Action herein, is and was a resident, domiciliary, and
 21
      citizen of California, with his/her primary place of residence in Los Angeles County.
 22
      Plaintiff was employed in the state of California.
 23
            2.     Defendant     UNIVERSITY         OF     SOUTHERN       CALIFORNIA
 24
      (“USC”) is a not-for-profit corporation organized under the laws of the State of
 25
      California, with its principal mailing address located at 3551 Trousdale Parkway,
 26
      ADM 352, Los Angeles, CA 90089, as identified through Defendant USC’s filings
 27
      with the California Secretary of State. USC is subject to numerous federal laws
 28
                                        -2-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 3 of 58 Page ID #:3



  1 including but not limited to Title VII, Title IX, the Defense Appropriation Act of
  2 2010.
  3         3.      Federal jurisdiction over this action arises pursuant to section 1331 of
  4 title 28 of the United States Code and pursuant to section 1121 of title 15 of such
  5 Code.
  6         4.      Because “part of the events or omissions giving rise to the claim”
  7 occurred in the Central District for the State of California, venue in this Court is
  8 appropriate pursuant to subdivision (b)(2) of section 1391 of title 28 of the United
  9 States Code.
 10         5.      Defendants are subject to personal jurisdiction in this district and state
 11 because they are domiciled therein.
 12                                GENERAL ALLEGATIONS
 13         6.      Plaintiff is a licensed attorney. Plaintiff has extensive experience in
 14 conducting investigations, including workplace investigations.
 15         7.      In or about March 2018, Defendant USC hired Plaintiff to be a “Senior
 16 Investigator” in USC’s newly formed Office of Conduct, Accountability, and
 17 Professionalism (“OCAP”). Plaintiff continues to be employed as an OCAP Senior
 18 Investigator.
 19         8.      Defendant USC represented to Plaintiff that OCAP was Defendant’s
 20 internal department for investigating allegations of workplace misconduct that were
 21 only alleged violations of USC policy and that did not allege statutorily protected
 22 conduct (i.e. did not raise concerns regarding conduct that would warrant protection
 23 under Title VII, under the California Fair Housing and Employment Act, under
 24 California Labor Code § 1102.5, or under similar statutes and regulations).
 25         9.      Thereafter, Defendant USC assigned Plaintiff to investigate two Title IX
 26 complaints. Defendant did so even though Defendant knew—and Plaintiff informed
 27 Defendant—that Plaintiff was not trained as a Title IX investigator under USC
 28
                                         -3-
                          COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 4 of 58 Page ID #:4



  1 policies. Plaintiff is informed that Defendant USC knew Plaintiff was not trained in
  2 accordance with USC’s obligations under the terms of its Consent Decree with the
  3 United States Department of Education, Office of Civil Rights (“OCR”).
  4        10.    Plaintiff, as an investigator would interview witnesses, collect and
  5 review evidence, and make findings regarding violations of University policy.
  6        11.    Plaintiff, in the course of conducting an investigation, would compile
  7 investigative reports based on the witnesses he/she had interviewed and the evidence
  8 he/she had reviewed.
  9        12.    Plaintiff expected that he/she would make factual findings regarding the
 10 credibility of witnesses, the congruence of differing narratives, and other subtleties
 11 that required the eye and judgment of a trained professional who had observed the
 12 witnesses being interviewed and compared all the evidence.
 13        13.    Plaintiff expected that, based on his/her review of written Title IX
 14 policy, he/she would draft the Summary Administrative Review for investigations in
 15 which Plaintiff was the Title IX investigator
 16        14.    Plaintiff had significant experience and training as an investigator.
 17        15.    Plaintiff’s investigative reports have been challenged on numerous
 18 occasions; no court, however, has ever overturned an investigative outcome by
 19 Plaintiff.
 20        16.    When Plaintiff was hired, Plaintiff was required to sign her/his
 21 acknowledgement and agreement to Job Code 117113, Senior Investigator-Conduct,
 22 Accountability, and Professionalism.
 23        17.    As part of Plaintiff’s job duties as a Senior Investigator, Plaintiff was
 24 required to “Prepare[] and maintain[] comprehensive reports based on investigative
 25 findings.”
 26        18.    As part of Plaintiff’s job duties as a Senior Investigator, Plaintiff was
 27 required to “Track[] completion and necessary follow-up.”
 28
                                       -4-
                        COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 5 of 58 Page ID #:5



  1         19.   Plaintiff was familiar that, as a professional and trained investigator,
  2 Plaintiff, as the interviewer of all fact witnesses, needed to make factual findings
  3 regarding the meaning, veracity, trustworthiness, credibility, and congruence of
  4 witness statements and presented evidence.
  5         20.   Plaintiff, as an OCAP investigator, was expected to conduct
  6 investigations and, thereafter, assemble a report detailing the evidence found,
  7 analyzing that evidence, and reaching an initial determination as to whether
  8 “University Policy” had been violated.
  9         21.    After hire, Plaintiff learned that OCAP did not provide an internal
 10 process for collegially resolving differences. This was contrary to the University’s
 11 warranties that—
 12         Internal processes are available for collegially resolving differences
            that may arise between the University of Southern California (the
 13
            "University") and its faculty or staff, including formal faculty grievance
 14         and staff complaint procedures. If, for whatever reason, internal
            collegial processes do not resolve such differences, final and binding
 15
            impartial arbitration is a means of avoiding the delay, expense, and
 16         unpleasantness of a lawsuit.
 17
            22.   Plaintiff learned that USC’s actual or implied representations
 18
      concerning an internal collegial process were deceitful and/or fraudulent. Plaintiff
 19
      was familiar that, in OCAP investigations, Responding Parties (i.e., the accused
 20
      parties) were not provided adequate procedural protections, and that the Responding
 21
      Parties were not provided the opportunity to review the evidence collected against
 22
      them and respond against such evidence.
 23
            23.   Plaintiff was familiar that, in OCAP investigations, Complaining Parties
 24
      (i.e., individuals lodging complaints) were not provided any adequate procedural
 25
      protections, and that the Complaining Parties were not provided the opportunity to
 26
      review and rebut any evidence being gathered, or participate in any hearing, so that
 27
      the Complaining Party might review and monitor the reliability and impartiality of
 28
                                       -5-
                        COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 6 of 58 Page ID #:6



  1 the investigation or determinations.
  2        24.    Particularly due to the lack of adequate procedural process in OCAP
  3 investigations, it was particularly important for Plaintiff that he/she, personally,
  4 reach factual findings regarding the investigations that he/she conducted and factual
  5 determinations regarding the meaning, veracity, trustworthiness, credibility, and
  6 congruence of witness statements and evidence he/she received.
  7        25.    Without disputing or controverting the authority of her/his superiors to
  8 review her/his findings, criticize her/his findings, or require additional investigation,
  9 Plaintiff was aware that the role of investigator meant that he/she, personally, needed
 10 to make the initial and/or preliminary factual findings regarding the witness
 11 statements and evidence he/she received.
 12        26.    Plaintiff was aware that her/his role, as the initial finder of fact regarding
 13 witnesses he/she interviewed and evidence he/she received, legally required
 14 personally making assessments regarding the credibility of witnesses based on their
 15 demeanor and other similar factors not captured in a “cold record.” Doe v. Westmont
 16 Coll., 34 Cal. App. 5th 622, 637 (2019); Doe v. Univ. of S. California, 29 Cal. App.
 17 5th 1212, 1233 (2018); Doe v. Claremont McKenna Coll., 25 Cal. App. 5th 1055,
 18 1070 (2018); Elkins v. Superior Court, 41 Cal. 4th 1337, 1356 (2007); Doe v. Univ.
 19 of S. California, 246 Cal. App. 4th 221, 246 (2016); Fitch v. Comm'n on Judicial
 20 Performance, 9 Cal. 4th 552, 556 (1995).
 21        27.    Defendant USC, due to protected activity by Plaintiff, retaliated against
 22 Plaintiff by, amongst other matters, removing Plaintiff from investigations shortly
 23 prior to their completion, and assigning those investigations to other investigators to
 24 complete.
 25        28.    Plaintiff was informed by management of the importance of politics at
 26 USC. Plaintiff is also informed and believes, in part, that Defendant USC willfully
 27 removed Plaintiff from specific investigations due to USC’s unfair, unlawful or
 28
                                       -6-
                        COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 7 of 58 Page ID #:7



  1 fraudulent, or its managing agents, desire to protect employees that had engaged in
  2 severe or pervasive misconduct. Plaintiff also alleges USC has a desire to hide
  3 unlawful and unethical behavior.
  4        29.    Plaintiff was involved in investigating (“Investigation X”) two high
  5 ranking USC employees, and Plaintiff received significant and consistent reports of
  6 severe and pervasive workplace misconduct (bullying) by those two employees.
  7        30.    Plaintiff provided a status report of to her/his superior, Gretchen
  8 Dahlinger-Means, regarding the progress of Investigation X and that, although the
  9 investigation was still in progress and pending, there was corroborated evidence that
 10 the relevant high-ranking employees had violated University policy.
 11        31.    Thereafter, USC, through its managing agents, Gretchen Dahlinger-
 12 Means and Michael Blanton informed Plaintiff she was being placed on a retaliatory
 13 administrative leave. USC removed Plaintiff from Investigation X and assigned the
 14 investigation to Nathan Elledge.
 15        32.    Plaintiff provided Nathan Elledge with the notes and interview materials
 16 he/she had assembled until that time, after Elledge requested that Plaintiff provide
 17 those materials to him.
 18        33.    It is Plaintiff’s understanding that Elledge drafted the Report of
 19 Investigation for Investigation X. Plaintiff has never seen the report for Investigation
 20 X.
 21        34.    Plaintiff knows that despite the corroborated evidence Plaintiff received
 22 regarding misconduct, both the investigated employees have since been promoted.
 23        35.    Such outcome is particularly more surprising given Plaintiff’s own July
 24 2, 2018 email to Blanton apprising Blanton of the gravity of Investigation X.
 25        36.    At the outset of Investigation X, Gretchen Dahlinger-Means told
 26 Plaintiff—who, at that time, was the assigned investigator for the matter—that the
 27 complaining employee anticipated termination had made the complaint as an attempt
 28
                                       -7-
                        COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 8 of 58 Page ID #:8



  1 to avoid the anticipated termination. No investigation had been conducted at such
  2 time, and such statement—made to the assigned investigator, pre-investigation, by
  3 USC’s Executive Director of workplace investigations, and Title IX compliance, and
  4 Title VII and FEHA compliance—appeared to constitute prejudgment.
  5        37.    In the course of the investigation, Plaintiff learned corroborated facts
  6 supporting the validity of the complaint.       When Plaintiff communicated those
  7 impressions to her superiors, Plaintiff, as stated, was removed from the investigation.
  8 The investigation was reassigned, the complaining party was terminated, and the
  9 respondents were promoted.
 10        38.    There have been numerous other investigations in which Plaintiff
 11 conducted the majority, or vast majority, of the investigation; only for Plaintiff to be
 12 pulled off the investigation, and the investigation handed off to another investigator
 13 to complete through making supposed findings based on the “cold record,” see Doe
 14 v. Westmont Coll., 34 Cal. App. 5th 622, 637 (2019), of Plaintiff’s notes.
 15        39.    Plaintiff has requested clarification whether Plaintiff’s name would be
 16 attached to, or listed on, “Summary Administrative Reports.” Defendant advised that
 17 Plaintiff’s name would be listed on the Report together with Kegan-Allee.
 18        40.    Plaintiff is informed and believes that Plaintiff’s name was attached to
 19 and/or listed on reports for those investigations in which Plaintiff did not draft the
 20 “Report of Investigation.”
 21        41.    Plaintiff reasonably has such belief because Plaintiff has been so
 22 informed by investigation participants.
 23        42.    Plaintiff reasonably has such belief because, in December 2018, Plaintiff
 24 was contacted regarding the status of an appeal by the Respondent in a Title IX
 25 investigation wherein Plaintiff had been the investigator, but the Summary
 26 Administrative Report had been prepared by another.
 27        43.    Plaintiff reasonably has such belief because months after Plaintiff was
 28
                                       -8-
                        COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 9 of 58 Page ID #:9



  1 removed from an investigation, Plaintiff’s Linkedin profile was viewed by the
  2 Responding Party’s husband. The viewer had no relationship whatsoever to Plaintiff,
  3 and, other than the fact that Plaintiff investigated his partner, there is no reasonable
  4 explanation for that review of Plaintiff’s Linkedin profile.
  5        44.    Plaintiff reasonably has such belief as Plaintiff routinely interviewed the
  6 Complaining Party and Responding Party in all investigations she began. It is logical
  7 that the Complaining Party and/or Responding Party, after having spent hours in
  8 interviews by Plaintiff, would reasonably object against a Report of Investigation
  9 and/or attack a Report of Investigation lacking Plaintiff’s name.
 10        45.    Plaintiff also alleges he/she has requested such documentation from
 11 USC. USC has stood silent.
 12        46.    For such reasons, amongst others, Plaintiff reasonably believes that
 13 Plaintiff’s name was improperly appended to Reports of Investigation that he/she did
 14 not draft, in violation of the Lanham Act.
 15        47.    Plaintiff further alleges her common law and statutory tort causes of
 16 action herein arise, at least in part, from alleged sexual harassment or assault.
 17
 18                             FIRST CAUSE OF ACTION
 19                            SECOND CAUSE OF ACTION
 20                                   False Endorsement
 21                   Lanham Act; Cal. Model State Trademark Law
 22                By Plaintiff DOE, individually, against all Defendants
 23        48.    Plaintiff incorporates ¶ 1 through the current as though fully set forth
 24 herein.
 25        49.    Plaintiff DOE is an internal investigator with significant experience in
 26 investigations, including child abuse and neglect, family law, probate, breach of
 27 fiduciary duty, and workplace.
 28
                                       -9-
                        COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 10 of 58 Page ID #:10



   1        50.      Plaintiff has a significant commercial interest in avoiding association
   2 with improper and/or scandalous workplace investigations.
   3        51.      Plaintiff, as an investigator, introduces himself/herself by name to each
   4 interviewee in an investigation.
   5        52.      Plaintiff’s credibility, to witnesses, and to parties in a process, would be
   6 significantly undermined if a Google search of Plaintiff’s name would associate
   7 Plaintiff with court findings of substandard, doctored, and/or overturned
   8 investigations.
   9        53.      Plaintiff’s ability to obtain future employment would be undermined if
  10 a Google search of Plaintiff’s name would associate Plaintiff with court findings of
  11 substandard, doctored, and/or overturned investigations.
  12        54.      Plaintiff DOE has written/writes significant scholarship regarding
  13 organizational biases and workplace harassment.
  14        55.      Plaintiff’s credibility as an expert on organizational bias and workplace
  15 harassment would be significantly undermined if a Google search of Plaintiff’s name
  16 would associate Plaintiff with bad and improper examples of organizational bias.
  17        56.
  18        57.      Defendant USC improperly attributed to Plaintiff authorship of “Reports
  19 of Investigation” and “Summary Administrative Reviews” that Plaintiff did not
  20 author.
  21        58.      Defendant USC has listed Plaintiff as “Investigator One” in Reports, and
  22 has published to affected parties Reports that Plaintiff as an investigator.
  23        59.      When a written report designates an individual as the investigator, that
  24 designation automatically identifies the named investigator as the author of the report.
  25        60.      Defendant USC has listed Plaintiff as “Investigator One” in Reports:
  26              a. Without disclosing to affected Parties that Plaintiff was removed from
  27                 the investigation involuntarily;
  28
                                         -10-
                           COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 11 of 58 Page ID #:11



   1              b. Without disclosing to the affected Parties that “Investigator One”—i.e.,
   2                 Plaintiff—had never seen, commented on, or been provided any
   3                 opportunity to review the written report for accuracy.
   4        61.      Plaintiff has further recently learned that Reports on which Plaintiff is
   5 identified as “Investigator One” contain statements that Plaintiff would never
   6 approve, and contain statements that disguise procedural improprieties that Plaintiff
   7 opposed.
   8        62.      Improperly attributing Plaintiff as the author of “Reports of
   9 Investigation” and “Summary Administrative Reviews” that Plaintiff, in fact, did not
  10 author, would improperly lead a reader to believe that Plaintiff in some way approved
  11 or ratified the Report of Investigation when he/she had not even read such Report.
  12        63.      Improperly attributing Plaintiff as the author of “Reports of
  13 Investigation” and “Summary Administrative Reviews” that Plaintiff, in fact, did not
  14 author, is likely to cause confusion regarding Plaintiff’s association with, and/or
  15 endorsement of, such Reports of Investigation and/or Summary Administrative
  16 Reviews.
  17
  18                              THIRD CAUSE OF ACTION
  19                   TITLE IX DISCRIMINATION / RETALIATION
  20                 By Plaintiff DOE, individually, against all Defendants
  21        64.      Plaintiff incorporates ¶ 1 through the current as though fully set forth
  22 herein.
  23        65.      Defendants retaliated against Plaintiff pursuant to Title IX. Plaintiff
  24 opposed Defendant’s practices under Title IX, including Defendant’s practices of
  25 altering and/or ignoring written Title IX investigative procedures for sexual
  26 harassment and assault claims. It was Plaintiff’s perception that Defendants were
     modifying those procedures for purposes of promoting Defendants’ preferred
  27
     outcome.
  28
                                           -11-
                      COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 12 of 58 Page ID #:12



   1        66.   For instance, in a specific Title IX harassment/assault investigation,
   2 Gretchen Dahlinger-Means ordered Plaintiff to conduct the investigative interviews,
   3 while representing Kegan Allee-Moawad as the supposed “investigator.” Yet, Allee-
   4 Moawad would have no interview duties.
   5        67.   Documents presented to the Parties to the investigation formally

   6 designated Kegan Allee-Moawad as the supposed “investigator.”
           68. As alleged below, Plaintiff is informed and believes that this
   7
     misrepresentation was in furtherance of Defendant’s need to have the investigation
   8
     controlled by individuals that would subvert the ordinary procedural protections.
   9
     Even after Plaintiff was removed from the case, another Investigator, other than
  10
     Allee, was assigned to complete the investigation and draft the Summary
  11
     Administrative Review.
  12
           69. Plaintiff opposed being an undisclosed investigator whose role would be
  13
     hidden from one or more interested parties; and when Plaintiff’s concerns were
  14 ignored, Plaintiff requested to be removed from the Title IX investigation. Gretchen
  15 Dahlinger-Means denied Plaintiff’s requests. After such requests, Gretchen
  16 Dahlinger-Means increased harassing and retaliating against Plaintiff.
  17        70.   Gretchen Dahlinger-Means also attempted forcing Plaintiff to modify
  18 written Title IX procedures by excusing a Responding Party in a sexual
  19 harassment/assault investigation from providing any evidence prior to Evidence
  20 Review. This violated the University’s policy, adopted pursuant to regulatory
  21 mandate, which required the Respondent to provide documentary evidence prior to
  22 reviewing witness statements.
  23        71.   Gretchen Dahlinger-Means verbally informed the Allee that the

  24 Respondent would not be required to provide evidence prior to evidence review.
     Allee further advised the Respondent of that fact in writing.
  25
           72. Plaintiff respectfully and tactfully opposed Gretchen Dahlinger-
  26
     Means’s decision to afford the Respondent the opportunity to provide cherrypicked
  27
     evidence, after the investigation was completed and the complete world of evidence
  28
                                             -12-
                        COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 13 of 58 Page ID #:13



   1 assembled against him was made available for his review. Plaintiff voiced vocal
   2 opposition to such practices, but Plaintiff’s concerns were ignored and overruled.
   3 After such opposition, Gretchen Dahlinger-Means increased harassing and retaliating
   4 against Plaintiff.
   5         73.   Significantly, Plaintiff has recently learned facts suggesting that the

   6 Summary Administrative Review fails to disclose that the Responding Party was
     afforded the opportunity to delay in presenting evidence and witnesses until
   7
     reviewing all the assembled facts. Adding insult to injury, Plaintiff was turned—
   8
     without her consent—into a coauthor of a report concealing the very practice she
   9
     opposed, and was punished for opposing!
  10
            74. Defendants subjected Plaintiff to numerous adverse employment
  11
     actions; including, without limitation, making false, or deceitful, statements about
  12
     Plaintiff; denying Plaintiff requested disability accommodations; placing Plaintiff on
  13
     forced leaves; removing Plaintiff from assignments; denying plaintiff employment
  14 benefits; and other harassing and/or discriminatory adverse employment actions.
  15         75.   Plaintiff made a formal complaint that Gretchen Dahlinger-Means was
  16 retaliating against Plaintiff for engaging in protected activity arising from Title IX
  17 compliance, including on insisting on compliance with the University’s written Title
  18 IX procedures.
  19         76.   Rather than opening a formal investigation into Plaintiff’s complaints
  20 pursuant to the protections provided for in the University’s mandated written policies
  21 for handling complaints regarding protected-class activity, and as required by
  22 California law for an allegation of misconduct under the FEHA, the University hired
  23 an outside investigator to conduct a noncompliant investigation that failed to afford
  24 Plaintiff the adequate (or minimum) procedural rights for a complaint that contains
       allegations of misconduct.
  25
             77.   Denying Plaintiff’s procedural rights in investigating Plaintiff’s
  26
       complaint further constituted an adverse employment action.
  27
             78.   Plaintiff is informed and alleges that USC also violated various federal
  28
                                       -13-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 14 of 58 Page ID #:14



   1 consent agreements. For example, in violation of §§ A(i) and B(i) and C of a federal
   2 Department of Education January 2018 Consent Agreement between the University
   3 and the Office of Civil Rights, David Wright, the then-Interim Senior Vice President
   4 for Administration affirmed the University’s opaque and self-serving mechanisms for
   5 determining how complaints would be categorized. Wright admitted Plaintiff’s
   6 protected or perceived protected conduct, as well as affirming the University’s denial
   7 of basic due process. Wright’s statement with additions for context, is in pertinent
   8 part set forth below:
   9         Appeal: This investigation was properly conducted according to the
             procedures of the Office of Conduct, Accountability, and
  10
             Professionalism (OCAP) and, therefore, Reporting Party was not
  11         entitled to an evidence review [i.e, due process]. Reporting Party, for
             the first time in her appeal, alleges that Respondent retaliated against
  12
             Reporting Party, not for [protected activing under Title IX by allegedly]
  13         violating chain of command with respect to intake of a [harassment]
             complaint made regarding Respondent’s purported boyfriend, but
  14
             because Reporting Party engaged in protected activity under Title
  15         VII/FEHA by making a complaint regarding protected-class
             misconduct [outside of her chain command]. The Office of
  16
             Professionalism and Ethics, of which OCAP is a division, routinely
  17         intakes complaints that may call for investigation by other fact-finding
  18         offices, including OED. It is not uncommon for reporting parties to
             present to OED or OCAP concerns that might appropriately be handled
  19         by the other division. Reporting Party learned of the complaint
  20         regarding Respondent’s purported boyfriend in the course of her work
             investigating an OCAP matter. Reporting Party was performing her
  21         customary job duties when she took action to refer this matter to the
  22         appropriate division within the office (which the investigator found was
             reasonable for Reporting Party to have done). She was not acting as a
  23         reporting party.
  24
             79.   Even more remarkably, § II of Wright’s affirmance openly
  25
       acknowledged that Plaintiff had reported misconduct, i.e., Plaintiff had raised a
  26
       complaint relating to Title IX investigations. Notwithstanding, Wright affirmed the
  27
       University’s use of an inadequate procedure-less investigation into Plaintiff’s
  28
                                       -14-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 15 of 58 Page ID #:15



   1 Complaint regarding protected class activity in violation of Title IX and USC Title
   2 IX policy.
   3        80.   Defendants subjected Plaintiff to retaliatory adverse employment
   4 actions substantially motivated by, or based on, Plaintiff’s protected conduct in
   5 seeking compliance with the University’s written Title IX procedures.
   6        81.   Plaintiff was harmed by Defendant’s retaliation.
   7        82.   Defendant’s conduct was malicious, oppressive or in reckless disregard
   8 of the Plaintiff's rights, warranting an award of punitive damages.
   9
  10                          FOURTH CAUSE OF ACTION
  11   NEGLIGENT SUPERVISION & NEGLIGENT HIRING OR RETENTION
  12               By Plaintiff DOE, individually, against all Defendants
  13        83.   Plaintiff incorporates ¶ 1 through the current as though fully set forth
  14 herein.
  15        84.   On January 29, 2018, the United States Department of Education, Office
  16 of Civil Rights (“OCR”), and Defendant USC, entered into a Resolution Agreement
  17 in which Defendant USC agreed to “resolve the violations and compliance concerns
  18 identified by [OCR]” relating to Defendant USC’s compliance with Title IX of the
     Civil Rights Act.
  19
            85. Nonparty Todd Dickey executed the agreement on behalf of Defendant
  20
     USC.
  21
            86. Pursuant to the resolution agreement, USC agreed that:
  22
            The University will review and revise, as needed, its current Title IX
  23        policies and procedures governing the University’s response to
  24        complaints of sexual harassment, including sexual violence, against
            faculty and (non-faculty) staff to ensure that they meet the requirements
  25        of Title IX and its implementing regulations.
  26
            87. Pursuant to the resolution agreement, USC agreed that “that the
  27
     University will take steps to prevent recurrence of any harassment and to correct its
  28
                                                -15-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 16 of 58 Page ID #:16



   1 discriminatory effects on the complainant and others, if a violation is found.”
   2         88.   Pursuant to the resolution agreement, USC agreed that “the University
   3 will implement internal written protocols that . . . provide a process for how either
   4 party may raise any concerns about potential conflicts of interest or bias in the appeal
   5 process.”
   6       89.     Pursuant to the resolution agreement, USC agreed that “provide a
       process for coordinating and documenting steps taken to prevent recurrence of
   7
       harassment, if any, and to correct its discriminatory effects on the complainant and
   8
       others, as appropriate.”
   9
             90.   Pursuant to the resolution agreement, USC agreed that “The University
  10
       has represented to OCR that it continues to provide mandatory annual training to all
  11
       individuals involved in investigating and resolving reports or complaints of sexual
  12
       harassment and sexual violence, including training of individuals who handle
  13
       appeals.”
  14         91.   On June 30, 2018, nonparty Todd Dickey retired. On information and
  15 belief, nonparty Wright was given an interim appointment to Todd Dickey’s position
  16 as Senior Vice President of Administration.
  17         92.   Due to USC’s Resolution Agreement with the OCR, as well as due to
  18 other facts, USC entered into a special relationship with those in the Title IX process,
  19 imposing on Defendant a duty not to act negligently in the supervision and/or
  20 retention and/or hiring of OED officers, employees, and assistants.
  21         93.   Defendant USC approved the retention of Gretchen Dahlinger-Means.
  22         94.   On information and belief, Defendant USC knew that Dahlinger-Means
  23 was unfit or incompetent to perform the work for which she was hired because,
  24 amongst other matters, Dahlinger-Means failed to adequately disclose or manage her
       relationship with the director of CWFL, thereby potentially invalidating, for such
  25
       reason alone, all investigations relating to employees in therapy at CWFL; and
  26
       because Plaintiff reported that Dahlinger-Means was not complying with Title IX
  27
       policy; and because Plaintiff reported that Dahlinger-Means was retaliating against
  28
                                       -16-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 17 of 58 Page ID #:17



   1 Plaintiff due to Plaintiff’s opposition to those violations.
   2         95.     On information and belief, Defendant USC knew that Dahlinger-Means
   3 was unfit or incompetent to perform the work for which she was hired because,
   4 amongst other matters, Dahlinger-Means’s investigations were repeatedly overturned
   5 by the Superior Courts and/or Courts of Appeal, and/or internally by the Academic
   6 Senate, for reasons that often included denying legally mandated due process.
             96.     Defendant USC knew and/or should have known that Dahlinger-Means
   7
       was unfit and/or incompetent and that such unfitness and/or incompetence created a
   8
       particular risk to others, including Plaintiff
   9
             97.     Plaintiff was harmed because of Dahlinger-Means’s unfitness and/or
  10
       incompetence.
  11
             98.     The negligence of Defendant USC and all of them, were a substantial
  12
       factor in causing Plaintiff’s harms.
  13
  14                               FIFTH CAUSE OF ACTION
  15       Rescission of Arbitration Contract and/or Voiding Arbitration Contract
  16               Cal. Civ. Code § 1698; Cal. Civ. Code § 1670.5; 9 U.S.C. § 4
  17                 By Plaintiff DOE, individually, against all Defendants
  18         99.     Plaintiff incorporates ¶ 1 through the current as though fully set forth
  19 herein.
  20       100. Plaintiff, in the course of her employment at USC, has discovered, facts
  21 including but not limited to, the following: (1) USC engages in a systemic program
  22 of spoliation regarding employment files and workplace investigation files, as well
  23 as electronic employee records; (2) USC engages in systemic spoliation even after
  24 USC is served with Preservation Notices; (3) USC intentionally conceals documents
  25 that it is required by law to produce; (4) USC maintains “shadow” “personnel
  26 records” that it does not produce pursuant to section 1198.5 of the California Labor
  27 Code; (5) USC uses corrupt practices in workplace investigations, such as promoting,
  28
                                             -17-
                      COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 18 of 58 Page ID #:18



   1 and/or coercing, predetermined findings; (6) USC uses corrupt practices in workplace
   2 investigations, such as misclassifying intakes so as to preclude the Responding Party
   3 from procedural protections; (7) USC uses corrupt practices in workplace
   4 investigations, such as creating one-sided “dirt files” that violate University policy.
   5        101. In light of the facts alleged herein regarding, amongst other matters,
   6 USC’s systemic conduct in spoliating employee records and files; USC’s admitted,
   7 as well as nonadmitted, policies of concealing documents that USC is legally
   8 obligated to produce; and in light of USC’s deliberate disregard of its own workplace
   9 investigation policies; and in light of the OCR’s determinations that the Executive
  10 Director of Title IX, OED and OCAP lacked credibility it is ludicrous to suppose that
  11 arbitration, or any other process that offers “something less than the full panoply of
  12 discovery,” Armendariz v. Foundation Health Psychcare, 99 Cal.Rptr.2d 745, 761
  13 (2000), suffices to vindicate any USC’s employee’s statutory claims.
  14        102. Plaintiff also alleges that, in light of USC’s unlawful practices, his/her
  15 arbitration agreement has its object, “directly or indirectly, to exempt [USC from its]
  16 own fraud . . . or violation of law, whether willful or negligent,” Cal. Civ. Code
  17 § 1668, and that, for such purpose, Plaintiff’s arbitration agreement with USC is null
  18 and void. USC’s policies and practices, including arbitration, exempt USC from its
  19 own fraud, and violations of law, through, amongst other matters, abridging and
  20 interfering with discovery.
  21        103. Plaintiff also alleges that, in light of USC’s unlawful practices, its
  22 arbitration agreement is both procedurally as well as substantively unconscionable.
  23 Cal. Civ. Code § 1670.5.
  24        104. Plaintiff’s arbitration agreement was imposed as a condition of her
  25 employment, and, for such reason, the arbitration agreement was unconscionable as
  26 well. Cal. Civ. Code § 1670.5.
  27        105. Plaintiff alleges her arbitration agreement imposed as a condition of
  28
                                       -18-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 19 of 58 Page ID #:19



   1 employment is void, because, amongst other reasons, the object of the agreement was
   2 completely or partially unlawful. Cal. Civil Code §§ 1441, 1598.
   3         106. Plaintiff alleges her arbitration agreement imposed as a condition of
   4 employment lacks contractual effect because consent must be free and mutual. Cal.
   5 Civil Code § 1565. Plaintiff also alleges a condition involving forfeiture must be
   6 strictly construed. Cal. Civil Code § 1442.
   7         107. Plaintiff’s arbitration agreement imposed as a condition of employment
   8 is also void and/or voidable under federal law.
   9         108. USC is a government contractor subject to the Defendant
  10 Appropriations Act of 2010. The Franken Amendment to Defense Appropriations
  11 Act for Fiscal Year 2010, bars defense contractors from mandating as a condition of
  12 employment arbitration any claim under Title VII, or any tort related to or arising
  13 from sexual assault or harassment. Civil Rights Act of 1964, § 701 et seq., 42
  14 U.S.C.A. § 2000e et seq.; 48 C.F.R. §§ 222.7402(a)(1)(i); id., § 252.217-7006;
  15 Defense Appropriations Act for Fiscal Year 2010, § 8116.
  16         109. Section 8116 of the Defense Appropriations Act for Fiscal Year 2010
  17 does not borrow the term “action” or “proceeding” appearing in 42 U.S.C. § 2000-
  18 e(1); and which terms appear throughout Title VII.
  19         110. Rather, section 8116 extends to “any claim under title VII.”
  20         111. Contrary to the mandate of section 8116, Defendant USC’s arbitration
  21 agreement provides that it only excludes from arbitration “claims brought under Title
  22 VII.”
  23         112. Defendant USC’s limited exclusion for claims “brought under title VII”
  24 violates the mandate of section 8116. Yet, discrimination claims prosecuted under
  25 state discrimination law are “claims under title VII,” as they are authorized by Title
  26 VII and form part of Title VII’s administrative scheme.
  27         113. For instance, 42 U.S.C. § 2007e-7, provides:          “Nothing in this
  28
                                       -19-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 20 of 58 Page ID #:20



   1 subchapter shall be deemed to exempt or relieve any person from liability, duty,
   2 penalty or punishment provided by any present or future law of any State . . . other
   3 than any such law which purports to require or permit the doing of any act which
   4 would be an unlawful employment practice under this subchapter.” See also, 42
   5 U.S.C. § 2000e-7 (authorizing worksharing agreements between the EEOC and state
   6 agencies like California’s DFEH); 42 U.S.C. § 2000e-8(b) (providing for executive-
   7 branch coordination with state agencies for furthering equal opportunity); 42 U.S.C.
   8 § 2000e-5(c),(d) (EEOC defers to state agencies in parallel enforcement actions).
   9        114. The statutory scheme of Title VII amply demonstrates that claims
  10 arising under state laws that prohibit discrimination against, and/or prohibit
  11 harassment of, protected classes, qualify as claims “under” Title VII. This is because
  12 Title VII is intended to function in conjunction with state government and local
  13 agency Fair Employment Practices Agencies (“FEPAs”).
  14        115. Defendant USC’s arbitration agreement is, accordingly, voidable and/or
  15 void and/or subject to reformation and/or subject to rescission to the extent the
  16 agreement attempts compelling the arbitration of all claims under the California Fair
  17 Employment and Housing Act, Cal. Gvm’t Code § 12940 et seq. Such claims are
  18 claims “under” title VII, and, for such reason, are exempted from arbitration due to
  19 Defendant USC’s status as a contractor subject to the requirements of the Defense
  20 Appropriations Act for Fiscal Year 2010.
  21        116. Consistent with Title VII; and consistent with the Defense
  22 Reconciliation Act; and pursuant to California’s police powers and regulation of
  23 employment contracts, California has enacted sections 432.4, 432.5, 432.6, 923, and
  24 925 of the California Labor Code as well as section 12953 of the California
  25 Government Code.
  26        117. USC is a California University that is regulated by the State of
  27 California.
  28
                                      -20-
                        COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 21 of 58 Page ID #:21



   1          118. Under California’s statutory provisions, any “individual unorganized
   2 workers” lacking “full freedom of association” to negotiate “the terms and conditions
   3 of employment” are subject to state protection against unfair and adhesive contract
   4 terms.
   5          119. With respect to adhesive arbitration terms, section 12953 renders it
   6 unlawful for any employer to impose as a condition of employment an arbitration
   7 agreement waiving procedural rights arising under state law for seeking redress
   8 against practices that are unlawful under the FEHA and the Labor Code.
   9          120. As to Defendant USC, sections 432.5 and 432.6 of the Labor Code, and
  10 section 12953 of the Government Code, simply create a state-law counterpart to
  11 Defendant USC’s otherwise existing duties under the federal Franken Amendments.
  12          121.   Labor Code section 432.6 further provides for attorneys’ fees for a
  13 plaintiff that prevails in defeating an employer’s attempt to limit, pre-dispute, an
  14 employee’s procedural rights and/or or other rights to enforce FEHA’s provisions.
  15          122. Plaintiff is an at-will employee whose contract is extended on each day
  16 of employment.
  17          123. In addition to the invalidity of Defendant USC’s arbitration agreement
  18 due to federal arbitration law and state arbitration law, Defendant USC’s arbitration
  19 agreement is further void and/or subject to rescission and/or subject to reformation
  20 and/or enjoinable due to “such grounds as exist at law or in equity for the revocation
  21 of any contract.”
  22          124. Plaintiff’s arbitration agreement with Defendant is subject to rescission
  23 under one or more subdivisions of (b)(1) through (b)(7) of section 1689 of the
  24 California Civil Code, and, for such reason, Plaintiff rescinds the arbitration
  25 agreement. See Cal. Civ. Code §§ 1689, 1567, 1568, 1572, 1709 and 1710.
  26          125. Defendant, in its in its Code of Ethics, makes the knowingly false, or
  27 otherwise deceitful, representations that: (1) “the University discharges its
  28
                                        -21-
                          COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 22 of 58 Page ID #:22



   1 “obligations to others in a fair and honest manner, and a commitment to respecting
   2 the rights and dignity of all persons”; (2) that “when we make promises as an
   3 institution, or as individuals who are authorized to speak. . . we keep those promises,
   4 including those promises expressed and implied in our Role and Mission statement”;
   5 (3) that “we promptly and openly identify conflicts of interest”; (4) that “we nurture
   6 and an environment of mutual respect and tolerance”; (5) that the University does not
   7 ““harass, mistreat, belittle, harm or take advantage of anyone”; (6) that the University
   8 does not tolerate “lying” or “deliberate misrepresentation”; (7) that the University not
   9 only follows “legal requirements” but further takes into account “ethical
  10 considerations”; (8) that the University and all have a “familial and fiduciary duty to
  11 one another” because of the “special bonds that bind us together”; and that (9) the
  12 University “respect[s] the rights and dignities of others,” and “strives for fairness and
  13 honesty in dealing with others.”
  14        126. Defendant has made, and continues to make, representations that it
  15 conducts itself as an ethical and reputable institution of higher learning.
  16        127. Defendant represents itself as an ethical and reputable institution of
  17 higher learning for, amongst other reasons, the purpose of recruiting and attracting
  18 talented and capable recruits to study with and work for Defendant.
  19        128. But for Defendant’s representation of itself as an ethical and reputable
  20 institution of higher learning, Plaintiff would not have sought to work for Defendant.
  21        129. But for Defendant’s representations regarding its supposed Code of
  22 Ethics, Defendant would not have garnered a reputation as an ethical and reputable
  23 institution of higher learning and and/or as a reputable employer.
  24        130. Had Defendant’s practices and policies been accurately represented to
  25 the public, and to current and prospective employees, Defendant would not have
  26 garnered a reputation as an ethical and reputable institution of higher learning and
  27 employment
  28
                                       -22-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 23 of 58 Page ID #:23



   1           131. For such reasons, amongst others, Plaintiff seeks to rescind and/or avoid
   2 and/or enjoin enforcement of Defendant’s unlawful and unconscionable arbitration
   3 agreement of adhesion.
   4
   5    USC Engages in a Systemic Program of Spoliation Regarding Employment
   6                Files and Records, and of Workplace Investigation Files
   7           132. Defendant, in its in its Staff Disciplinary Practices, warrants that
   8 “categories and specific behaviors and actions that may result in discipline and/or
   9 termination include: “Dishonesty—providing false, fraudulent or inaccurate
  10 information in the course of conducting business, on university documents or during
  11 university investigations, audits or complaint processes.”
  12           133. Defendant, in its in its Staff Disciplinary Practices, warrants that it
  13 makes written records of disciplinary actions. Defendant posts such information to
  14 its website.
  15           134. Due to, amongst other reasons, the unlawful practices described in this
  16 Complaint, Defendant reasonably knew or should have known that such
  17 representations were false and untrue; and/or Defendant made such representations
  18 despite having no reasonable grounds for believing that such representations were
  19 true.
  20           135. Defendant engages in a systemic program of spoliation, including, but
  21 not limited to, the destruction, deletion, and alteration of, employment files,
  22 workplace-investigation files, and electronic employment records
  23           136. For instance, Defendant maintains a policy of only allowing
  24 investigators to create a single copy of a Report of Investigation and requiring
  25 investigators to constantly write over their prior work, instead of retaining prior
  26 drafts.
  27           137. Defendant’s workplace investigators are instructed not to save versions
  28
                                         -23-
                           COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 24 of 58 Page ID #:24



   1 of draft documents, separately, thereby spoliating all drafts.
   2        138. Defendant spoliates documents because they are anticipated to relate to
   3 litigation and/or other proceedings. Plaintiff was personally informed that the reason
   4 for the spoliation policy was, amongst other reasons, to ensure that drafts would not
   5 be extant in the event that an investigation proceeded to litigation.
   6        139. Plaintiff, as an investigator, was assigned an investigation regarding a
   7 USC employee.
   8        140. Plaintiff observed that her drafts of her investigative reports were being
   9 deleted without trace by others at the University. Plaintiff logically deduces that her
  10 supervisor was deleting documents.
  11        141. For instance, an investigation authored by Plaintiff was edited on March
  12 11, 2019, by Plaintiff’s supervisor, Gretchen Dahlinger–Means.
  13        142. Gretchen Dahlinger–Means, at that time, created a new copy of the
  14 edited file.
  15        143. Thereafter, Gretchen Dahlinger–Means reedited and overwrote the file
  16 on March 18, 2019. At about the same time, the original version of the report
  17 disappeared from Defendant’s servers.
  18        144. The file, and other files, were overwritten in a manner deliberately
  19 intended to scrub its metadata and obliterate any records of the changes and editing
  20 history.
  21        145. Gretchen Dahlinger–Means, despite not being the investigator, first
  22 edited, then overwrote Plaintiff’s investigative report.
  23        146. Significantly, at the time that such spoliation was occurring, the
  24 University knew that an adverse finding was being made against such employee. In
  25 short, Dahlinger–Means appeared to be spoliating evidence relating to an anticipated
  26 legal dispute.
  27        147. This type of evidence spoliation was contrary and antithetical, in part, to
  28
                                       -24-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 25 of 58 Page ID #:25



   1 the “collegial process” warranted in Defendant’s arbitration agreement with its
   2 employees, which collegial process was, and is, represented as an apparent
   3 inducement to arbitration.
   4        148. Plaintiff also witnessed, and documented, spoliation relating to other
   5 investigative reports she was uploading to Defendant’s servers.
   6        149. Plaintiff also discovered that Plaintiff’s Tyndall-related preservation file
   7 had been deleted from the shared drive.
   8        150. Plaintiff, after discovering the spoliation, contacted Anthony Stealey
   9 from Defendant’s IT department to ascertain whether the documents had audit
  10 reports.
  11        151. Anthony Stealey confirmed that the University’s servers generally
  12 utilized audit reports. Such audit trails were consistent with USC’s federal and state
  13 obligations to maintain accurate and not falsified records.
  14        152. Defendant’s IT department, however, further confirmed that the servers
  15 for OCAP and OED—Defendant’s internal offices for investigating workplace
  16 investigations—lacked auditing services.
  17        153. Defendant’s IT department advised Plaintiff, “We don’t have any
  18 auditing services installed on the [OED/OCAP] server. Anyone that has access to
  19 that location can modify it. Only the user that creates the file can delete it.” Thus, a
  20 supervisor with an employee’s password, or other access, could delete a file.
  21        154. In other words, Defendant’s servers for workplace investigations
  22 differed from its general IT protocols in that the workplace investigation servers,
  23 specifically, did not have audit reports.
  24        155. Defendant’s IT department represented that they would look into the
  25 issue and fix it, but Plaintiff is unaware whether this occurred and whether audit trails
  26 were subsequently instituted.
  27        156. Similarly, the University utilizes “i-sight” as case management software.
  28
                                       -25-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 26 of 58 Page ID #:26



   1 i-sight provides best-practices trainings and seminars, covering the basics of
   2 preserving case documentation. Plaintiff is aware that Defendant did not utilize or
   3 adopt the practices recommended by the software provider it used.
   4         157. Defendant further spoliated emails.
   5         158. Plaintiff began backing up her emails after discovering that emails were
   6 mysteriously and unexplainedly moving from her inbox to the email trash folder.
   7 Plaintiff believes that a superior with access to her emails was spoliating her emails.
   8         159. The email deletions disproportionately appeared to be emails between
   9 Plaintiff and John Jividen, who became one of Plaintiff’s supervisors. A substantial
  10 portion of the deleted e-mails related to investigations that Plaintiff had conducted,
  11 including investigations from which Plaintiff was removed and the investigation
  12 passed to another to complete the Report of Investigation.
  13         160. Defendant also, in its ongoing campaign of retaliation and intimidation
  14 against Plaintiff, destroyed or deleted substantially all records of Plaintiff’s extensive
  15 training certificates that Plaintiff had obtained through Defendant’s “TrojanLearn”
  16 training platform.
  17         161. In the time period when Defendant was engaged in a concerted
  18 campaign of retaliation against Plaintiff, for, amongst other reasons, Plaintiff’s
  19 protected conduct in opposing Title IX violations, Defendant deleted Defendant’s
  20 “TrojanLearn” training certificates and records. The deletions also appearlogically
  21 related to attempts to retaliate and discredit Plaintiff.
  22         162. For instance, Plaintiff has collected records demonstrating that she
  23 completed courses: “Code of Conduct Awareness”; “Conflicts of Interest in
  24 Research”; “CA Dept. of Fair Employment Overview”; “Harassment Prevention”;
  25 “Bullying in the Workplace”; “Prohibited Workplace Conduct”; “Gender Identity
  26 and Expression”; “USC Management Essentials”; and others. All records of such
  27 training have disappeared from Defendant’s “TrojanLearn” account.
  28
                                        -26-
                          COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 27 of 58 Page ID #:27



   1        163. Plaintiff is informed and believes that Defendant violated its consent
   2 agreement with OCR when Plaintiff was assigned to Title IX investigations without
   3 prior University Title IX training being provided by Defendant prior to the execution
   4 of those duties. The convenient disappearance of Plaintiff’s training records makes
   5 it conveniently impossible to prove whether Defendant did, or did not, provide
   6 Plaintiff with the legally mandated training that Defendant was obligated to provide.
   7        164. Plaintiff has contacted the Defendant on numerous occasions regarding
   8 Plaintiff’s disappeared trainings. Despite Plaintiff’s numerous requests, the records
   9 of training have not been restored.
  10        165. The numerous communications, and the collective silence of
  11 Defendant's various agents, can only reasonably explained as predicated on deliberate
  12 instructions for higher ups not to respond to Plaintiff’s requests regarding spoliation.
  13        166. These facts, amongst others, demonstrate that spoliation is a widespread
  14 issue at the University. Particularly the fact that the OED and OCAP servers were
  15 set up with different auditing policies than other University departments
  16 demonstrates either recklessness, deliberateness or intentional spoliation policies.
  17
  18                 USC Engages in Systemic Spoliation even after USC
  19                          is Served with Preservation Notices
  20        167. In 2019, Plaintiff obtained Counsel to represent her with respect to,
  21 amongst other matters, ongoing disability-discrimination by Defendant.
  22        168. In 2019, Plaintiff provided Defendant with a notice of a Right to Sue
  23 Plaintiff had obtained from the California Department of Fair Employment and
  24 Housing against Defendant.
  25        169. In 2020, Plaintiff’s Counsel sent a formal preservation notice to
  26 Defendant. The preservation notice clearly designated a litigation hold for documents
  27 relating to Plaintiff’s disability and requests for disability accommodation.
  28
                                       -27-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 28 of 58 Page ID #:28



   1        170. In 2020, Plaintiff submitted formal paperwork to Defendant concerning
   2 Plaintiff’s return to work, pursuant to USC policy, from short-term disability.
   3        171. The documents were processed in Defendant’s personnel-management
   4 system, Workday.
   5        172. Plaintiff, as a trained investigator, and familiar with the University’s
   6 records practices, and Plaintiff, by force of habit, retained evidence of the documents
   7 being processed and approved.
   8        173. Shortly thereafter, Plaintiff’s approval was rescinded. The rescission of
   9 the approval would have constituted further evidence of disability retaliation.
  10        174. Thereafter, Plaintiff saw that the: (1) processing notifications; (2) initial
  11 approval; (3) and subsequent rescission, had all been deleted from Workday. The
  12 transactions were scrubbed as if they had never occurred. There was no audit trail.
  13        175. Plaintiff documented all such transactions with pictures and other
  14 evidence.
  15        176. Plaintiff, accordingly, is possessed of evidence showing that
  16 Defendant’s spoliation policies extend to actively destroying pertinent evidence
  17 relating to open litigation matters, despite receiving prior preservation letters
  18 requesting a litigation hold.
  19
  20 USC Intentionally Conceals Documents That it is Required by Law to Produce
  21        177. Defendant is a federal contractor subject to the duties imposed by the
  22 Rehabilitation Act of 1973, including, without limitation, the duty to adopt and
  23 implement          an       Affirmative         Action         Policy.               See
  24 https://businessservices.usc.edu/files/2014/06/affirmative_action_notice_2016.pdf
  25        178. Defendant notifies its Business Associates that “[o]ur affirmative action
  26 efforts related to protected veterans and individuals with disabilities are set out and
  27 described in our Affirmative Action Plan for protected veterans and individuals with
  28
                                       -28-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 29 of 58 Page ID #:29



   1 disabilities, which is available on request.”
   2        179. Defendant’s website informs faculty, staff, and students that its
   3 “Affirmative Action Plan for Veterans and Individuals with Disabilities is available
   4 for inspection in the Office of Equity and Diversity by any student, employee or
   5 applicant upon request, during normal business hours.”
   6        180. Plaintiff, in 2020, made numerous requests for a copy of Defendant’s
   7 Affirmative Action Plan. Due to the COVID-19 restrictions, it was physically
   8 impossible to view the Affirmative Action Plan in person. Federal law requires such
   9 Plans to be disseminated.
  10        181. Defendant, through Christine Street, the Associate Vice Provost,
  11 Institutional Accessibility and ADA Compliance, advised Plaintiff that she did not
  12 have a copy of the University’s Affirmative Action Plan, even though Street was
  13 responsible for USC strategic planning efforts for ADA/504 compliance.
  14        182. Plaintiff alleges Street’s failure to immediately produce USC
  15 Affirmative Action plan deprived and continues to deprive Plaintiff and others of
  16 rights. Street initially advised “Plaintiff,” in noncredible statements, that USC was
  17 searching for its Affirmative Action Plan. Street then ceased responding to questions
  18 about the Affirmative Action Plan. When Plaintiff did not stop asking, Defendant
  19 sent Plaintiff, after a weeks’-long delay, a document titled “Equal Opportunity
  20 Policy”; which document was not an affirmative action plan as would ordinarily be
  21 mandated for federal government contractors.
  22        183. Based on conversations Plaintiff has had with other employees familiar
  23 with the Affirmative Action Plan, Plaintiff is informed and understands that the
  24 “Equal Opportunity Policy” provided by the University, in response to Plaintiff’s
  25 numerous requests, specifically is not the University’s Affirmative Action Plan.
  26        184. Plaintiff is informed and understands that Defendant is concealing and
  27 withholding its Affirmative Action Plan while passing off other documents as its
  28
                                       -29-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 30 of 58 Page ID #:30



   1 supposed Affirmative Action Plan; or in the alternative, Defendant does not have an
   2 Affirmative Action Plan for the year of, and years after, 2018.
   3        185. Defendant, as a federal contractor, is required to comply with 41 C.F.R.
   4 § § 60-741.41, which provides that, “[t]he full affirmative action program, absent the
   5 data metrics required by § 60-741.44(k), shall be available to any employee or
   6 applicant for employment for inspection upon request. The location and hours during
   7 which the program may be obtained shall be posted at each establishment.”
   8        186. Plaintiff, accordingly, is informed and believes that Defendant
   9 withholds relevant evidence Defendant is required to furnish under federal law.
  10 Plaintiff contends that such issues are a systemic issue at Defendant USC.
  11        187. Similarly, the February 27, 2020, Findings Letter by the U.S. DOE OCR
  12 Regional Director, Anamaria Loya, to the University similarly identified the
  13 University’s noncompliance with document requests from the OCR:
  14        OCR notes that the University did not provide all of the documents
            requested by OCR in this directed investigation. 8To date, the
  15
            University has identified to OCR that it has withheld in their entirety
  16        3,638 identified emails and other documents related to its investigation
            and handling of Employee 1’s matter, asserting they are privileged
  17
            attorney client communications and/or attorney work products. OCR
  18        requested that, for every document with sections redacted or withheld
            entirely, the University provide a privilege log identifying the author(s)
  19
            and their position(s), the date(s) it was generated, and the specific
  20        privilege or protection invoked and grounds for the privilege/protection
            for each section of the document. OCR also requested that for
  21
            documents that were redacted, the University provide the full document
  22        with the privileged portion redacted and the privilege assertion
  23        reflected in the privilege log. As of February 27, 2020, the University
            has not provided a privilege log for all of the redactions. In addition,
  24        the University did not follow through with its original offer that the law
  25        firm conducting an independent investigation of Employee 1’s matter
            would provide to OCR the documents gathered and reviewed by the
  26        law firm and its findings in its investigation.
  27
            188. As alleged herein, Plaintiff is aware that her Tyndall preservation file on
  28
                                      -30-
                        COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 31 of 58 Page ID #:31



   1 the OCAP shared drive was deleted under unexplained circumstances. Plaintiff
   2 interviewed numerous witnesses with respect to the Tyndall matter.
   3
   4     USC Maintains “Shadow” Personnel Files that it does Not Preserve in its
   5         Personnel Files Under section 1198.5 of the California Labor Code
   6        189. Plaintiff, in February 2019, requested copies of her personnel records.
   7 Plaintiff specifically requested copies of any “shadow files” maintained by
   8 Defendant. The existence of “shadow files” was known to investigators but was
   9 concealed from or not disclosed to other USC employees and faculty.
  10        190. Defendant produced, pursuant to section 1198.5 of the Labor Code, a
  11 personnel file demonstrating that Defendant maintains extremely detailed “shadow
  12 files.” The contents of the shadow files produce to Plaintiff are categorically
  13 personnel files “relat[ed] to the employee’s performance.”
  14        191. Thereafter, Defendant changed its personnel file policies.
  15        192. Defendant’s newly instituted personnel file policies are unlawful on
  16 their face. Under section 1198.5 of the California Labor Code, numerous classes of
  17 documents must be classified as part of an employee’s personnel documents. USC,
  18 however, has adopted an unlawful policy that creates numerous exceptions that
  19 directly contravene the legal requirements of Labor Code section 1198.5
  20        193. For       instance,    Defendant’s      personnel        file   policies,
  21 https://policy.usc.edu/personnel-files/, exclude “Investigation notes generated from
  22 informal complaint investigations,” “Manager’s working files and notes,” “Marginal
  23 notes on documents that reflect opinions or judgments that are not supported by fact
  24 or documentation.”
  25        194. The shadow file produced by Defendant to Plaintiff, prior to this change
  26 in policy, unambiguously demonstrates that “Investigation notes generated from
  27 informal complaint investigations,” “Manager’s working files and notes,” “Marginal
  28
                                      -31-
                        COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 32 of 58 Page ID #:32



   1 notes on documents that reflect opinions or judgments that are not supported by fact
   2 or documentation,” are, in fact, documents specifically “relat[ed] to the employee’s
   3 performance,” within the meaning of section 1198.5 of the Labor Code.
   4        195. For instance, the “Manager’s working files and notes” collected on
   5 Plaintiff was a “dirt file” intended to portray Plaintiff as a problem employee in
   6 support of Dahlinger-Means’s attempts to threaten, intimidate or coerce Plaintiff.
   7 Collegial disclosure of such documents would be necessary to any collegial resolving
   8 of differences. Suppressing such documents violates California law.
   9        196. The shadow file produced by Defendant to Plaintiff further demonstrates
  10 that “[m]arginal notes on documents that reflect opinions or judgments that are not
  11 supported by fact or documentation,” are generally managerial criticisms collected
  12 for purposes of support later disciplinary actions. Suppressing said documents also
  13 violates California law.
  14        197. Many of the “[m]arginal notes on documents that reflect opinions or
  15 judgments that are not supported by fact or documentation” provide key evidence
  16 regarding Defendant’s overt, intentional, and deliberate motive to unlawfully retaliate
  17 against Plaintiff.
  18        198. In summary, Defendant’s new personnel-file production policies,
  19 adopted in February 2019, appear calculated to withhold documents the University
  20 is legally required to produce, and to deprive employees of due process.
  21
  22      USC Has a Pattern and Practice of Promoting Predetermined Findings
  23        199. Plaintiff is also further aware that Defendant’s investigatory
  24 departments, OCAP, and, to some extent, OED, have a culture of promoting
  25 predetermined outcomes regarding workplace investigations. Multiple courts have
  26 reversed investigations conducted under Dahlinger-Means’s directorship due to
  27 expressed bias and/or denials of due process.
  28
                                        -32-
                          COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 33 of 58 Page ID #:33



   1        200. For instance, Plaintiff was personally told by Gretchen-Dahlinger
   2 Means that, in a certain Title IX sexual harassment/assault investigation, there would
   3 be a finding against the Respondent “over her dead body.”
   4        201. Plaintiff also observed how that Title IX investigation was conducted in
   5 a manner that tilted in favor of the Respondent.
   6        202. Further, as alleged earlier, two individuals who Plaintiff is quite certain
   7 violated University policy remained with the University and/or were promoted after
   8 Plaintiff was removed from the investigation into their contended misconduct. Upon
   9 information and belief, the complaining party was terminated, as planned, based on
  10 a pre-determination.
  11        203. Plaintiff is further aware of how intakes would be referred by high-
  12 ranking school officers together with the referring party’s not-so-subtle opinion that
  13 the complaint was meritless.
  14        204. Indeed, Plaintiff investigated an intake in which the referring officer
  15 indicated that the complaint was meritless. Plaintiff investigated an issue of a
  16 Conflict of Interest at the USC Schaeffer for Health Policy and Economics. Plaintiff
  17 found that there was a conflict of interest issue that appeared to require administrative
  18 attention.
  19        205. Thereafter, Plaintiff, when obtaining the shadow file, discovered that
  20 he/she had been retaliated against for raising the issue, —even though Plaintiff’s
  21 doing so was plainly part of Plaintiff’s employment duties.
  22        206. Thereafter, the same issue identified by Plaintiff was identified by a
  23 different investigative body within USC with significantly greater independence from
  24 administration than OCAP. Plaintiff is informed and believes that concrete action
  25 was taken by that different investigative body.
  26        207. Plaintiff also witnessed conversations in which Gretchen-Dahlinger
  27 Means made statements encouraging investigators to reach pre-determined findings
  28
                                       -33-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 34 of 58 Page ID #:34



   1 against a tenured faculty member.
   2        208. Plaintiff is familiar with the systemic cultural biases that appear
   3 ingrained in USC’s workplace, and Plaintiff is aware that it is practically impossible
   4 to reasonably litigate one’s statutory right in arbitration, for example, without being
   5 afforded “the full panoply of discovery,” Armendariz, 99 Cal.Rptr.2d at 761.
   6
   7 USC has a Pattern and Practice of Misclassifying Intakes so as to Preclude the
   8                   Responding Party from Procedural Protections
   9        209. Defendant further has a culture of violating its own policies and
  10 procedures to defeat procedural protections for employees.
  11        210. Perhaps one of the most insidious practices utilized by Defendant is
  12 using its discretion to classify “intakes” in a self-serving manner calculated to defeat
  13 procedural rights of affected employees.
  14        211. For instance, Plaintiff often watched Gretchen Dahlinger–Means
  15 discouraging complaining parties from making a formal Title IX complaint, and
  16 encouraged instead the use of informal dispute resolution devices that would under
  17 Dahlinger–Means directive would allow the University to avoid categorizing the
  18 complaint as a “complaint” for purposes of governmental reporting and compliance.
  19 This is too was unlawful and would spoliate material statistical evidence.
  20        212. Additionally, at an OCAP-organized retreat, Plaintiff was instructed that
  21 even though Defendant represented to the Academic Senate, and the University at
  22 large, that OCAP’s procedureless investigations were a “catch all” for investigations
  23 that did not fit within protected class conduct, in reality, the University’s policy was
  24 to treat intakes under OCAP as a “policy of first resort.”
  25        213. The Provost had also advised the Academic Senate that OCAP’s
  26 procedures would be the same as those used by OED. In actuality, OCAP had no due
  27 process procedures.
  28
                                       -34-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 35 of 58 Page ID #:35



   1        214. Plaintiff similarly experienced this conduct that when she reported
   2 retaliation by Gretchen Dahlinger–Means due to Plaintiff opposing violations of
   3 Defendant’s written Title IX procedures and other protected concerns, Defendant
   4 hired an outside investigator. The outside investigator conducted a procedureless and
   5 inadequate investigation into Plaintiff’s complaint about retaliation by Dahlinger-
   6 Means and others against Plaintiff’s protected conduct.
   7        215. When Plaintiff advised the investigator, Robin Dal Soglio, that Plaintiff
   8 sought to have the formal procedures for protected class complaints, Robin Dal
   9 Soglio—an outside investigator—responded that “hybrid” issues would be
  10 investigated under the OCAP (i.e. procedureless) framework.
  11        216. Such practice was also contrary to USC’s duties under FEHA to
  12 “develop and distribute to its employees a harassment, discrimination and retaliation
  13 prevention policy” that complied with all of the requirements of section 11023(b)(1)-
  14 (10) of title 2 of the California Code of Regulations.
  15        217. There is no indication that, prior to the investigation, USC determined
  16 Robin Dal Soglio to be an “impartial” and qualified investigator. Further, there is no
  17 indication that Dal Soglio was instructed to “conduct a fair, timely, and thorough
  18 investigation that provides all parties appropriate due process and reaches reasonable
  19 conclusions based on the evidence collected.”
  20        218. Significantly, Robin Dal Soglio was not a University employee, yet Dal
  21 Soglio was making some very significant statements and assertions regarding the very
  22 fundamental and core principles of how the University determined whether a
  23 complaining party would be deprived adequate procedural protections when a report
  24 contained protected class allegations, or retaliation related matters.     It appears
  25 probable that Robin Dal Soglio was parroting instructions and advice from
  26 Defendant’s officers.
  27        219. Robin Dal Soglio conducted a noncompliant and inequitable
  28
                                      -35-
                        COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 36 of 58 Page ID #:36



   1 investigation into Plaintiff’s retaliation complaints that afforded Plaintiff inadequate
   2 and/or no procedural rights.
   3        220. For example, all material evidence presented to Robin Dal Soglio was
   4 presented for rebuttal to Gretchen Dahlinger–Means. Dahlinger–Means’s rebuttal
   5 was never disclosed or shown to Plaintiff. Plaintiff was not even re-interviewed after
   6 Dahlinger–Means’s rebuttal. Instead, Robin Dal Soglio recomposed Dahlinger–
   7 Means’s rebuttal into a “Findings” letter, which rubber stamped Dahlinger–Means’s
   8 self-serving claims that no retaliation had occurred.
   9        221. Pursuant to University policy, Plaintiff appealed that the University had
  10 violated its own policy by imposing an opaque and procedure-less “investigation,”
  11 without a basic opportunity to respond, even though Plaintiff had engaged, and
  12 asserted that she had engaged, in protected activity under Title VII, Title IX, and
  13 FEHA.
  14        222. In violation of §§ A(i) and B(i) and C of a federal Department of
  15 Education January 2018 Consent Agreement between the University and the Office
  16 of Civil Rights, David Wright, the then-Interim Senior Vice President for
  17 Administration affirmed the University’s opaque and self-serving mechanisms for
  18 determining how complaints would be categorized:
  19        Appeal: This investigation was properly conducted according to the
            procedures of the Office of Conduct, Accountability, and
  20
            Professionalism (OCAP) and, therefore, Reporting Party was not
  21        entitled to an evidence review. Reporting Party, for the first time in her
            appeal, alleges that Respondent retaliated against Reporting Party, not
  22
            for violating chain of command with respect to intake of a complaint
  23        made regarding Respondent’s purported boyfriend, but because
            Reporting Party engaged in protected activity under Title VII/FEHA by
  24
            making a complaint regarding protected-class misconduct. The Office
  25        of Professionalism and Ethics, of which OCAP is a division, routinely
            intakes complaints that may call for investigation by other fact-finding
  26
            offices, including OED. It is not uncommon for reporting parties to
  27        present to OED or OCAP concerns that might appropriately be handled
  28        by the other division. Reporting Party learned of the complaint
                                       -36-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 37 of 58 Page ID #:37



   1            regarding Respondent’s purported boyfriend in the course of her work
                investigating an OCAP matter. Reporting Party was performing her
   2
                customary job duties when she took action to refer this matter to the
   3            appropriate division within the office (which the investigator found was
                reasonable for Reporting Party to have done). She was not acting as a
   4
                reporting party.
   5
                223. Even more remarkably, § II of Wright’s affirmance openly
   6
       acknowledged that Plaintiff had reported misconduct relating to Title IX
   7
       investigations.     Notwithstanding, Wright affirmed the University’s use of an
   8
       inadequate procedure-less investigation into Plaintiff’s Complaint regarding
   9
       protected class activity, in violation of Title IX, and in violation of USC Title IX
  10
       policy
  11
                224. In another incident, Plaintiff personally observed how Dahlinger–Means
  12
       attempted to unilaterally terminate a complaint regarding violence on campus
  13
       because the incident had occurred on a weekend. Gretchen Dahlinger-Means told
  14
       Plaintiff how numerous administrator-members of the Employee Relations
  15
       Committee had prevailed on her to change her opinion regarding the matter.
  16
                225. Dahlinger-Means, however, continued to express bias against
  17
       investigating the matter, stating that USC had to be careful about pursuing employees
  18
       for conduct on their own time.       This was at the same time as Dahlinger-Means’s
  19
       executive boyfriend had plead guilty to a sex crime charge that had occurred outside
  20
       work hours.
  21
                226. Similarly, the Office of Civil Rights later found that Gretchen
  22
       Dahlinger-Means had improperly unilaterally dismissed complaints made against
  23
       George Tyndall without investigating.
  24
                227. The California Courts of Appeal have overturned other USC
  25
       investigations for similar prejudgment and lack of due process.
  26
                228. These facts, amongst others, demonstrate that USC is singularly
  27
       apathetic, or worse, to its legal obligations to provide procedural fairness to
  28
                                          -37-
                            COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 38 of 58 Page ID #:38



   1 employees, and demonstrate that USC violates its own policies and its own
   2 representations to the Academic Senate, in order to promote USC’s ability to handle
   3 employee investigations in the way that suits its biased administrative interests,
   4 serving to perpetuate a culture of misconduct and cover-up.
   5        229. USC, which has demonstrated a history of misconduct, cannot be trusted
   6 to comply in good faith with private contractual arbitration requirements so as to
   7 provide due process. Sufficient evidence demonstrates that USC will not comply
   8 with discovery procedures, which aggrieved employees require to obtain redress of
   9 statutory rights. Absent being afforded “the full panoply of discovery,” Armendariz,
  10 99 Cal.Rptr.2d at 761, and other due process rights available in court, including to
  11 determine whether USC’s discovery responses are complete and truthful, and what
  12 documents it might have been spoliated, it is not possible for an employee to obtain
  13 vindication of statutory rights when the playing field is so decisively stacked in the
  14 employer’s favor.
  15
  16    USC Violates its Own Policies to Create “Dirt Files” Against Vocal Faculty
  17        230. Plaintiff also opposed the University’s unlawful, unfair, and fraudulent
  18 practice of using the its ironically-named Office of “Accountability” and
  19 “Professionalism” as the University’s “hit team” for carrying out retaliation against
  20 tenured professors that had voiced opinions that were disfavored by the University’s
  21 administration.
  22        231. Plaintiff, for instance, was instructed to create an adverse investigatory
  23 record against Professor Jane Doe, a Professor of Art History and History at USC
  24 Dornsife.     Gretchen Dahlinger–Means instructed that Plaintiff’s role was
  25 documenting negative information regarding Professor Doe. “We can write a letter
  26 to her chair/Dean that is anonymized complaints.” The negative information gathered
  27 in the dirt-digging task was to be submitted to faculty (Professor Jane Doe’s dean),
  28
                                       -38-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 39 of 58 Page ID #:39



   1 without providing Doe the ability to respond.
   2        232. Plaintiff is informed and believes that the dirt-digging “investigation”
   3 against Professor Doe was due to Doe’s vocalizing unpopular opinions. Doe was
   4 perceived as critical of efforts within Dornsife to focus new hires and Dornsife
   5 resources towards non-Caucasian art studies.
   6        233. Unsatisfied with the outcome of a prior formal investigation that
   7 concluded Professor Doe had not violated any University policies and/or that
   8 Professor Doe had not engaged in wrongdoing, Gretchen Dahlinger–Means
   9 instructed Plaintiff to commence a new round of dirt-digging interviews, without
  10 notice to Professor Doe. Only adverse information was to be collected, without
  11 notice to Professor Doe, and the collected would be placed in Professor Doe’s
  12 personnel file.
  13        234. Plaintiff respectfully opposed the University’s unlawful, unfair, and
  14 fraudulent practices on grounds that such practices violated the Faculty Handbook.
  15 The Faculty Handbook prohibited undisclosed investigations. FH, Ch. 6-D. The
  16 Faculty Handbook prohibited retaliating against academic freedom. FH, Ch. 3-B(1).
  17 The Faculty Handbook prohibited making undisclosed reports. FH, Ch. 6-F.
  18        235. These facts were ever more significant due to the undisclosed practice
  19 of certain high-ranking school officials to run potential promotions past OCAP and/or
  20 OED to determine whether there were issues with the relevant candidate.
  21 Accordingly, OCAP’s dirt files created a basis for potential retaliation against victims
  22 without the victims ever knowing that they had lost a promotion opportunity based
  23 on an unknown dirt file sitting in OCAP’s records.
  24        236. In response to Plaintiff’s opposition against violating the Faculty
  25 Handbook, Gretchen Dahlinger–Means retaliated against Plaintiff’s protected
  26 opposition by characterizing Plaintiff as insubordinate; making false harassing
  27 statements about Plaintiff to other University personnel; and other adverse
  28
                                       -39-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 40 of 58 Page ID #:40



   1 employment actions.
   2        237. The University unconscionably lays groundwork for turning private
   3 arbitration into a vehicle for confirming its sought outcome. By creating adverse
   4 employment records that could be “produced” in arbitration, without adequate
   5 opportunity to discover unlawful motives underlying those records, or violations of
   6 legal rights, arbitration becomes a rubberstamp for the conclusion cooked into the
   7 employee’s personnel file. Employees would never discover the full panoply of
   8 USC’s evidentiary misconduct. Further, arbitration is designed to exempt USC from
   9 said misconduct.
  10
  11                    USC Conceals Key Conflict Information that
  12         Appears to Have Corrupted Numerous Workplace Investigations
  13        238. Plaintiff, in the course of her employment, handled a workplace sexual
  14 harassment complaint regarding John Gaspari, Dahlinger–Means then-boyfriend and
  15 future husband.
  16        239. Plaintiff was aware that John Gaspari was romantically involved with
  17 Plaintiff’s supervisor, Gretchen Dahlinger–Means.
  18        240. Prior to Plaintiff shielding the complaint against Gaspari from
  19 Dahlinger–Means’s potential interference, Dahlinger–Means and Plaintiff were very
  20 friendly and Dahlinger–Means disclosed personal information.
  21        241. John Gaspari and Gretchen Dahlinger–Means have since married, and
  22 Gretchen Dahlinger–Means now goes by the name Gretchen Gaspari.
  23        242. Due to the University’s policy deeming a conflict of interest to exist
  24 where an individual has a “personal interest” in the outcome of a claim against an
  25 “intimate friend”; and due to Gretchen Dahlinger–Means’s absolute ability to
  26 terminate any complaints about her romantic partner, John Gaspari, Plaintiff did not
  27 report the complaint regarding John Gaspari to her immediate supervisor. Plaintiff
  28
                                      -40-
                        COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 41 of 58 Page ID #:41



   1 instead engaged in protected activity and reported the complaint to an alternative
   2 manager, John Jividen.
   3        243. Jividen reported the matter to General Counsel; thereafter, John Gaspari
   4 was terminated.
   5        244. Plaintiff is informed and believes that the University, in investigating
   6 John Gaspari, learned that John Gaspari had pled guilty to a sexual-misconduct
   7 criminal charge involving nonconsensual sexual photography—conduct uncannily
   8 similar to the Tyndall fiasco.
   9        245. Gaspari was discreetly terminated. On information and belief, USC
  10 made no report to any state agency or licensing board.
  11        246. Gretchen Dahlinger–Means—the University’s Executive Director
  12 responsible for overseeing investigations of workplace misconduct and alleged
  13 violations of Title VII, Title IX, and FEHA—then engaged in a concerted campaign
  14 of retaliation to label Plaintiff as a problem employee; attacked Plaintiff’s character
  15 throughout the University; placed Plaintiff on forced administrative leave; denied
  16 preapproved time off work; and engaged in other workplace retaliation.
  17        247. At the time of his termination, John Gaspari led the university’s
  18 landmark Center for Work and Family Life (“CWFL”) providing, expert assistance
  19 on issues from emotional wellbeing to crisis intervention.
  20        248. John Gaspari’s partner, Gretchen Dahlinger–Means, served, at the very
  21 same time, as the Executive Director of the University department responsible for
  22 overseeing USC’s workplace investigations.
  23        249. Staff and faculty being investigated by OED, Title IX or OCAP would
  24 be affirmatively referred to CWFL as a resource for counseling regarding their
  25 workplace stress. OCAP and OED, the Offices under Gretchen Dahlinger–Means’s
  26 supervision, affirmatively identified CWFL as a resource for employees under
  27 investigation. See, e.g., https://equity.usc.edu/resources/.   OED’s findings letters
  28
                                       -41-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 42 of 58 Page ID #:42



   1 against employees would advise: “Our office recognizes that these are difficult issues
   2 . . . . [C]ounseling and support services are available to you through the Center for
   3 Work and Family Life (CWFL).”
   4        250. This conflict was never disclosed to USC’s faculty or staff. Staff and
   5 faculty being investigated by Gretchen Dahlinger–Means’s department would be
   6 referred to Gaspari’s department for counseling.
   7        251. Staff and faculty would be disclosing their closest secrets without
   8 knowing the relationship between their counselor and the office investigating them.
   9 The conflict was even more pronounced because Gretchen Dahlinger–Means did not
  10 implement any ethical wall to manage the conflict between her and Gaspari, and, as
  11 explained herein, Gretchen Dahlinger–Means expected that all complaints about
  12 Gaspari’s misconduct would be referred to her by her subordinates for determination.
  13 Indeed, Dahlinger–Means was livid when she found out that Plaintiff had reported
  14 the alleged sexual harassment to Jividen. Dahlinger–Means even admitted that the
  15 conduct was protected when Dahlinger–Means asserted that Plaintiff had gone
  16 “outside the chain of command.”
  17        252. In essence, USC’s confidential mental health resource was in a personal
  18 relationship with USC’s “prosecutorial office.”       If any complaints about the
  19 arrangement were to arise, Gretchen Dahlinger-Means expected that those
  20 complaints would be referred to herself to determine whether a conflict existed. Yet,
  21 there was no disclosure of the relationship to the USC community. Employees under
  22 investigation would doubtless feel violated to learn their confidential-crisis advisor
  23 was in a romantic relationship with the Executive Director of the office investigating
  24 them and potentially making career-determinative decisions.
  25        253. Such issues, hidden from the public and only known to individuals
  26 within USC’s workplace investigation offices, further demonstrate why, vis a vis
  27 USC, any non-court procedure that fails to afford “the full panoply of discovery,”
  28
                                      -42-
                        COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 43 of 58 Page ID #:43



   1 Armendariz, 99 Cal.Rptr.2d at 761, is worthless, or otherwise interferes or abridges
   2 USC employee rights
   3
   4      The Public Interest would be Prejudiced by Allowing USC’s Arbitration
   5                                   Agreement to Stand
   6        254. In addition to the above allegations, the Arbitration agreement is
   7 unconscionable because the agreement seeks to bake unfairness into the arbitral
   8 process, in a manner that allows USC to exploit the arbitral forum in its favor.
   9 Amongst other matters:
  10        255. The Agreement imposes more than notice pleading, at the same time as
  11 hiding or spoliating evidence, requiring the employee’s written notice “shall identify
  12 and factually describe the nature of all claims asserted.” Thus, the Agreement allows
  13 USC to gauge, at the outset, the extent of the employee’s knowledge and the
  14 employee’s susceptibility to being taken advantage of in arbitration.
  15        256. The Agreement, without disclosing a history of spoliation, indicates the
  16 “arbitrator shall afford the parties adequate discovery” taking into account “their
  17 shared desire to have a fast, cost effective dispute resolution mechanism.”
  18        257. The Agreement permits a motion to dismiss or summary judgment under
  19 the Federal Rules of Civil Procedure but fails to provide employees the full panoply
  20 of discovery upon which such rules are designed.
  21        258. The Agreement purports to waive “any right to bring on behalf of
  22 persons other than the employee, or otherwise participate with other persons in any
  23 class or collective action,” whether in court or in arbitration.
  24        259. The Agreement appears to impose a class waiver even as to claims that
  25 the Agreement excludes from arbitration. Thus, the waiver is not limited to bi-lateral
  26 arbitration.
  27        260. Even though the agreement has one object, arbitration, it provides that
  28
                                       -43-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 44 of 58 Page ID #:44



   1 if the any provision of this “Agreement is determined to be void or otherwise
   2 unenforceable, this determination shall not affect the validity of the remainder of the
   3 agreement.”
   4
   5     The Arbitration Agreement Fails to Disclose that the Arbitration is to be
   6                         Conducted by a Non-Neutral Forum
   7        261. The arbitration agreement further provides that arbitration is to be
   8 determined by JAMS.
   9        262. The arbitration agreement does not disclose that JAMS is a nonneutral
  10 forum and that JAMS and USC share a relationship.
  11        263. Unlike the AAA, which is a not-for-profit, JAMS is operated like a law
  12 firm, in which one quarter of JAMS arbitrators are shareholders, much akin to
  13 partners, or owners, in a law firm.
  14        264. Plaintiff is informed and believes that there is a “partnership track”
  15 through which nonpartner arbitrators can “make partner.”
  16        265. These issues were recently the basis for vacatur of an arbitration award
  17 in Monster Energy Co. v. City Beverages, LLC, 940 F.3d 1130 (9th Cir. 2019), where
  18 the Ninth Circuit vacated an arbitration award due to the JAMS arbitrator’s
  19 undisclosed ownership interest in the arbitration company and the arbitration
  20 company’s substantial business relationship with one of the parties.
  21        266. JAMS’s statement regarding “Neutrality” states:
  22        JAMS has approximately 400 neutrals on its panel, and a little over one
            quarter of JAMS neutrals have an ownership share in the company.
  23
            Each owner holds one share and there are no outside shareholders.
  24        Owners are not privy to information regarding the number of cases or
            revenue related to cases assigned to other panelists. No shareholder’s
  25
            distribution exceeds .1% of JAMS total revenue in a given year.
  26        Shareholders are not informed about the extent to which their profit
            distribution may be impacted by any particular client, lawyer or law
  27
            firm and shareholders do not earn credit for the creation or retention of
  28        customer relationships.
                                              -44-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 45 of 58 Page ID #:45



   1
              267. The statement that “[o]wners are not privy to information regarding the
   2
       number of cases or revenue related to cases assigned to other panelists” is unhelpful
   3
       and noninformative, because the statutory disclosures under section 1281.96 of the
   4
       Code of Civil Procedure allow the arbitrators to determine who their most reliable
   5
       patrons are.
   6
              268. The statement that “No shareholder’s distribution exceeds .1% of JAMS
   7
       total revenue in a given year” does not say much. The relevant question is net profits,
   8
       not revenue. Further, this statement does not disclose retained earnings, or other
   9
       benefits provided from revenue.        The statement appears crafted to conceal
  10
       information from employees.
  11
              269. Precisely as was the issue in Monster Energy—which issue warranted
  12
       vacatur—JAMS and USC have some sort of undisclosed relationship.                 At a
  13
       minimum, JAMS is the sole arbitration forum for USC, JAMS arbitrators share in
  14
       profits from USC arbitrations, and there appears to be some form of other partnership
  15
       or joint venture with JAMS. Many JAMS arbitrators are also USC graduates.
  16
              270. JAMS and AAA’s section 1281.96 disclosures show that USC
  17
       apparently, in some time about 2015, switched the dispute-resolution provider in its
  18
       agreements from AAA to JAMS.
  19
              271. At about the same time, in 2016, JAMS began hosting annual
  20
       symposiums in partnership with USC. Plaintiff is informed and believes that such
  21
       partnership monetarily benefits JAMS, its shareholders, and its future shareholder
  22
       arbitrators.
  23
              272. Significantly, the 2016 symposium, one year after USC switched its
  24
       arbitration provider, designated the symposium as an “annual” event even though the
  25
       event was the initial such event.      Indeed, the JAMS–USC symposiums have
  26
       continued annually.
  27
              273. Significantly, JAMS’s latest 1281.96 disclosures show Monster Energy
  28
                                        -45-
                          COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 46 of 58 Page ID #:46



   1 is disclosed as a party in five proceedings; USC has been the Respondent in thirteen
   2 JAMS proceedings in the same time. Almost, three times the amount.
   3        274. The relationship, and “repeat player” effect, creates an actual or apparent
   4 conflict. It is unlikely that a JAMS shareholder, or arbitrator, would antagonize a
   5 repeat player like USC, particularly given USC’s partnership with JAMS and
   6 particularly given USC’s designation of JAMS Los Angeles as exclusive forum. It
   7 is unlikely that a JAMS shareholder would antagonize one of Los Angeles County’s
   8 largest employers, thereby alienating USC to seek ADR Services, Signature
   9 Resolution, or another forum. It is similarly unlikely that a nonshareholder arbitrator
  10 seeking to become a future shareholder; or that an arbitrator dependent on his or her
  11 JAMS affiliation; would make an award or ruling that could risk antagonizing the
  12 USC–JAMS relationship. This violates due process, and, at a minimum, whether
  13 consciously or subconsciously, further tips the scales of private injustice in favor of
  14 USC.
  15        275. In 2018, USC revised its arbitration agreement. USC revised arbitration
  16 agreement fails to disclose that, since 2016, USC and JAMS have partnered in
  17 symposiums and fails to disclose how JAMS is organized and owned; which are
  18 circumstances that could lead a reasonable employee to doubt JAMS’s impartiality.
  19
  20     Plaintiff is Entitled to Rescission, Reformation, or to Void the Agreement
  21        276. For the foregoing reasons, Plaintiff seeks to avoid and/or rescind the
  22 arbitration agreement with Defendant.
  23        277. Due to the foregoing reasons, Defendant’s arbitration agreement is
  24 subject to rescission, as it illegal, unconscionable, contrary to public policy,
  25 prejudicial to the public interest, void, lacks free consent, and obtained through fraud,
  26 deceit and/or mistake of fact.
  27        278. Alternatively, Plaintiff seeks to enjoin enforcement of the arbitration
  28
                                       -46-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 47 of 58 Page ID #:47



   1 agreement as the agreement protects unlawful, unfair and/or fraudulent business acts
   2 and/or practices. It should be noted that USC is one of the largest institutional
   3 employers in Los Angeles.
   4          279. Alternatively, Plaintiff seeks to reform the arbitration agreement to
   5 provide for the full discovery authorized under, and to strike the numerous
   6 unconscionable provisions, as provided in California Code of Civil Procedure. Cal.
   7 Civ. Code § 3399.
   8          280. Alternatively, Plaintiff is entitled to enjoin Defendant’s arbitration
   9 agreement under § 17200 of the California Business & Professions Code, et seq.
  10          281. Plaintiff alleges that USC willfully deceived Plaintiff concerning the
  11 agreement to arbitrate claims by asserting or suggesting facts which were not true
  12 and/or that Defendant had no reasonable ground to believe were true.
  13          282. USC, for example, through C. L. Nikias and other managerial agents,
  14 represented that there were “internal processes for collegially resolving differences,”
  15 and “internal collegial processes.”
  16          283. USC has admitted to its Academic Senate that such representations were
  17 false.
  18          284. As alleged earlier, USC also suppressed facts which it was obligated to
  19 disclose, and instead gave Plaintiff information of other facts which were likely to
  20 mislead for want of communication.
  21          285. The problems of limited-discovery arbitrations, as well as other one-
  22 sided procedures, applicable to USC based on the facts alleged here, were highlighted
  23 at length in Justice Baxter’s dissent in Moore v. Conliffe, 7 Cal. 4th 634, 637 (1994):
  24          1. Foremost among the features which deter perjury in a judicial
              proceeding is the fact that a judicial proceeding is a public proceeding.
  25
              The trial is open to the press and public and a record of the proceeding
  26          is available to the press and the public. Since litigants and witnesses are
              aware that their statements are subject not only to cross-examination
  27
              and impeachment, but also to public scrutiny, the possibility that
  28          perjury will be exposed acts as a deterrent to perjury.
                                                  -47-
                            COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 48 of 58 Page ID #:48



   1
           2. The judge and jury are neutral decision makers. Neither is dependent
   2
           upon the parties to litigation for income. This neutrality ensures, to the
   3       greatest extent possible, that perjury will be recognized and a just
           decision rendered.
   4
   5       3. Witnesses are sworn to tell the truth.
   6
           4. Discovery is available to the parties. The ability to discover the
   7       evidence upon which the opponent's case rests enables the parties to
           prepare effective cross-examination and to obtain and present
   8
           impeaching evidence.
   9
  10       5. The trier of fact is required to follow the law, and review for errors
           of law or insufficiency of credible evidence is available by appeal.
  11
  12       The Legislature has determined that those protections are sufficient to
           warrant denying a litigant the right to a civil action against a
  13       perjurious witness. It has not done so with regard to arbitration for good
  14       reason. That reason is that comparable protections are not guaranteed
           in private contractual arbitration. By contrast:
  15
  16       1. Arbitration proceedings are private. None of the formality of a
           judicial proceeding surrounds an arbitration hearing. Rules governing
  17       judicial procedure are not applicable. (Code Civ.Proc., § 1282.2, subd.
  18       (d).)

  19       2. The arbitrator, or arbitrators, are dependent upon the parties for
  20       their income. They are not required by law to take an oath of fairness
           and impartiality. Institutional litigants whose contracts relegate all
  21       disputes to arbitration are the major source of income for many
  22       arbitrators. Many serve repeatedly as arbitrators for institutional
           clients. (See, e.g., Kaiser Foundation Hospitals, Inc. v. Superior Court
  23       (Coburn) (1993) 19 Cal.App.4th 513, 23 Cal.Rptr.2d 431; Neaman v.
  24       Kaiser Foundation Hospital (1992) 9 Cal.App.4th 1170, 11
           Cal.Rptr.2d 879; see also, Note, The Impression of Possible Bias: What
  25       a Neutral Arbitrator Must Disclose in California (1993) 45 Hastings
  26       L.J. 113.) Neutral decisionmaking is not, and cannot be, guaranteed
           under these circumstances. The likelihood that the testimony of a
  27       witness who regularly appears on behalf of an institutional client will
  28       be perceived as perjurious is necessarily diminished.
                                               -48-
                        COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 49 of 58 Page ID #:49



   1
           3. Witnesses need be sworn only on request of a party and the rules of
   2
           evidence do not apply. (Code Civ.Proc., § 1282.2, subd. (d).)
   3
           4. Discovery is not guaranteed. Depositions are available only as
   4
           evidence, not for discovery purposes, except in matters involving
   5       personal injury or death, and then only if the arbitrator grants a party's
           application. (Code Civ.Proc., §§ 1283, 1283.05.) Only in actions
   6
           involving personal injury or death, or claims of damage in excess of
   7       $50,000, may a party demand that the other party provide a list of
           witnesses prior to the hearing. (Code Civ.Proc., § 1282.2, subd. (a)(2).)
   8
           Failure to list a witness is not a bar to admission of that witness's
   9       testimony. (Code Civ.Proc., § 1282.2, subd. (a)(2)(E).)
  10
           The likelihood that a party will be able to mount an effective cross-
  11       examination when the nature of a witness's proposed testimony is not
  12       known prior to the hearing is significantly reduced, as is the ability of
           the party to marshal other evidence to counter that testimony at the
  13       hearing.
  14
           5. No record need be kept. The content of a witness's testimony is not
  15       preserved and thus not open to posthearing scrutiny by third parties. A
  16       witness may therefore give conflicting testimony in separate arbitration
           proceedings without fear of exposure.
  17
  18       6. No appellate or any judicial review is available for insufficiency of
           credible evidence. The ruling of the arbitrator is final insofar as the
  19       factfinding process is involved. (Moncharsh v. Heily & Blase (1992) 3
  20       Cal.4th 1, 9–11, 10 Cal.Rptr.2d 183, 832 P.2d 899.)

  21       The assertion of the majority that private contractual arbitration is
  22       comparable to a judicial proceeding is, in the end, based only on its
           purpose of adjudicatory dispute resolution. What is omitted in this
  23       reasoning is any mention of the fact that the procedure for a private
  24       contractual arbitration hearing is not established by statute, but by the
           contract between the parties. The provisions of Code of Civil
  25       Procedure sections 1282 and 1282.2, which offer a skeleton procedural
  26       format for the conduct of arbitration proceedings, are default
           procedures. Each section is expressly applicable “[u]nless the
  27       arbitration agreement otherwise provides, or unless the parties to the
  28       arbitration otherwise provide....” (Ibid.)
                                               -49-
                        COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 50 of 58 Page ID #:50



   1
             There is, therefore, no single or even standard format for private
   2
             contractual arbitration. None of the safeguards and procedures
   3         available to a party in a judicial proceeding to expose false testimony
             are guaranteed in private contractual arbitration. Although cross-
   4
             examination may be assumed to be permitted in all such proceedings,
   5         it is not cross-examination by an attorney or party who is informed by
             discovery of impeaching evidence.
   6
   7 Moore v. Conliffe, 7 Cal. 4th 634, 663–65 (1994).
   8         286. Such considerations demonstrate that, as applied to USC’s arbitration
   9 scheme, in light of the corrupt practices detailed herein, Defendant’s arbitration
  10 agreements can only be viewed as unconscionable and/or procured through fraud
  11 and/or procured through an employee’s mistake of fact and/or unlawful and contrary
  12 to public interest or public policy.
  13         287. No trier of fact can conclude that the foregoing facts are immaterial to
       Defendant’s employees’ agreement to arbitration and Defendant’s employees’ lack
  14
       of knowledge regarding the foregoing facts are grounds for avoiding the contracts
  15
       and/or rescission and/or reformation and/or injunction.
  16
             288. The right to a jury trial enshrined in § 4 of the FAA is of constitutional
  17
       import.
  18
             289. Any act of Congress seeking to abridge the right to a jury trial; or
  19
       seeking to limit the right to Petition the government for redress, is unconstitutional.
  20
             290. Similarly, any act of Congress seeking to delegate adjudicatory powers
  21 over common law claims to a non-Article III court is unconstitutional and exceeds
  22 Congress’s lawmaking powers. Northern Pipeline Construction Company v.
  23 Marathon Pipe Line Company, 458 U.S. 50 (1982).
  24         291. The FAA’s constitutionality, accordingly, is dependent on the premise
  25 that the FAA only enforces voluntary contractual agreements.
  26         292. The jury right under § 4 is, accordingly, stands as a bulwark against the
  27 unconstitutional deprivation of rights that would result if a plaintiff were barred from
  28
                                        -50-
                          COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 51 of 58 Page ID #:51



   1 petitioning the government for redress, due to a supposed “agreement” that, in fact,
   2 lacks contractual force.
   3         293. The USC arbitration agreement further reserves to a § 4 jury to
   4 determine the agreement’s enforceability. The USC arbitration agreement provides
   5 that it incorporates the JAMS Employment Procedures; and the JAMS Employment
   6 Minimum Standards provide:
   7
             If a party contests the enforceability of a pre-dispute arbitration
   8
             agreement that was required as a condition of employment, and if
   9         compliance with the Minimum Standards is in question, JAMS will, if
             given notice of the dispute, defer administering the arbitration for a
  10
             reasonable period of time to allow the contesting party to seek a judicial
  11         ruling on the issue. JAMS will comply with that judicial determination.
             If there is no judicial determination within a reasonable period of time,
  12
             JAMS will resolve questions of arbitrability under the applicable JAMS
  13         Arbitration Rules and Procedures for Employment Disputes.
  14
                                  SIXTH CAUSE OF ACTION
  15
                                RULE 23(b)(2) CLASS ACTION
  16
          Rescission of Arbitration Contract and/or Voiding Arbitration Contract
  17
                 Bus. & Prof. §§ 17200 et seq.; Cal. Civ. Code §§ 1670.5, 1668
  18
          By Plaintiff DOE, and all others similarly situated, against all Defendants
  19
             294. Plaintiff incorporates ¶ 1 through the current as though fully set forth
  20
       herein.
  21
             295. Plaintiff brings this action on behalf of Plaintiff and on behalf of all
  22
       others similarly situated (the “Class”).
  23
             296. Pursuant to §§ 17200 et seq. of the California Business & Professions
  24
       Code, Plaintiff seeks, on behalf of the Class, to enjoin all staff employee arbitration
  25
       agreements imposed by Defendant on its employees and/or faculty. Plaintiff does
  26
       not seek an injunction concerning any employee who is employed under a Collective
  27
       Bargaining Agreement.
  28
                                        -51-
                          COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 52 of 58 Page ID #:52



   1        297. Pursuant to section 1670.5 of the California Civil Code, Plaintiff seeks,
   2 on behalf of the Class, to avoid all arbitration agreements imposed by Defendant on
   3 its staff employees.
   4        298. Pursuant to section 1668 of the California Civil Code, and similar
   5 authority, Plaintiff seeks, on behalf of the Class, to avoid all arbitration agreements
   6 imposed by Defendant on its staff employees.
   7        299. Plaintiff alleges that identification of class members is not essential
   8 under Rule 23(b)(2). In the event of a contrary holding by the Court, Plaintiff shall
   9 amend with a Class definition.
  10        300. Plaintiff does not know the number of members in the Class, but believes
  11 the Class members number in the thousands, if not more. On information and belief,
  12 Defendant is the third largest employer in Los Angeles County, employing over
  13 65,000 individuals. Thus, this matter should be certified as a Class action to assist in
  14 the expeditious litigation of this matter.
  15        301. Plaintiff alleges that the party against whom relief is sought has acted
  16 (or refused to act) on grounds generally applicable to a class of persons, thereby
  17 making appropriate declaratory or injunctive relief with respect to the class as a
  18 whole. The relief sought is public injunctive relief.
  19        302. The class members are generally bound together through preexisting or
  20 continuing legal relationships, or by some significant common trait, in that the class
  21 members are all employed by or have been employed by Defendant, signed a written
  22 arbitration agreement (“Agreement to Arbitrate Claims”) in conjunction with and as
  23 a condition of commencing employment, and were not provided a written statement
  24 warranting that the relevant class members would be employed even absent signing
  25 such arbitration agreement.
  26        303. The joinder of the Class members is impractical and the disposition of
  27 their claims in the Class action will provide substantial benefits both to the parties
  28
                                       -52-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 53 of 58 Page ID #:53



   1 and to the court. The Class can be identified through Defendant’s records or
   2 Defendant’s agents’ records.
   3        304. There are questions of law and/or fact common to the Class including,
   4 but not limited to, that the spoliation practices described herein and evidence
   5 suppression practices described herein are against the public interest, and applicable
   6 to any employee and/or faculty member and such employees and/or faculty members
   7 and the prevalence and pervasiveness of the practices described herein create grounds
   8 under California state contract law to avoid and/or enjoin the enforcement of any
   9 agreement limiting the Class’s ability to discover through compelled process the
  10 unlawful and fraudulent practices described herein as applied on any class member
  11 or to all class members.
  12        305. There can be no doubt each and every employee arbitration agreement
  13 is, due to grounds applicable to all contracts, either (1) contrary to an express
  14 provision of law, (2) contrary to the policy of express law, though not expressly
  15 prohibited, or (3) otherwise contrary to good morals.     Cal. Civ. Code § 1667; see
  16 also USC Code of Ethics.
  17        306. The Claims of Plaintiff are typical of the Class in that Plaintiff, amongst
  18 other matters, seeks to obtain discovery regarding various legal claims he/she has
  19 made and intends to potentially make against the University, and Plaintiff, and the
  20 Class, are hindered or abridged in doing so through being bound by arbitration
  21 agreements that all require compliance with the JAMS Employment Arbitration
  22 Rules & Procedures, which, amongst other matters, only guarantees a single
  23 deposition and that relies on the good faith of the Parties to determine what
  24 documents are relevant to the claims of the counterparty. See JAMS Rule 17. Here,
  25 the facts demonstrate that, as to the class, USC lacks good faith and that statutory
  26 violations cannot be remedied in arbitration. One need only look at the Dr. Tyndall
  27 scandal to see how USC’s lack of appropriate morals has harmed the public interest.
  28
                                      -53-
                        COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 54 of 58 Page ID #:54



   1         307. Plaintiff will fairly and adequately represent and protect the interests of
   2 the Class in that Plaintiff has no interests antagonistic to any member of the Class.
   3 Plaintiff hereby excludes all management staff employees from the class, and all
   4 employees involved in drafting, enforcing, or otherwise administrating the arbitration
   5 policies.
   6         308. Plaintiff has retained counsel experienced in handling employment-law
   7 class action claims.
   8         309. Absent a class action, the Class will continue to face the potential for
   9 irreparable harm. In addition, these violations of law will be allowed to proceed
  10 without remedy and Defendant will likely continue such illegal conduct. Major
  11 scandals have not changed the corruption at USC. There is no more complete way to
  12 ensure USC’s compliance with legal and ethical requirements than a public
  13 revocation, a prohibitory injunction, or other remedy for its arbitration scheme.
  14         310. Because of the knowledge known only to Plaintiff and others working
  15 in Defendant’s offices for workplace investigations, few, if any, Class members
  16 would be equipped or capable of seeking legal redress for the wrongs complained of
  17 herein, or to inform and assist counsel, or obtain redress.
  18         311. Plaintiff and members of the Class were harmed by the acts of Defendant
  19 in at least that Plaintiff and the Class have been subjected to arbitration agreements
  20 that under state law grounds are unconscionable and/or illegal and/or unlawful and/or
  21 fraudulent and/or unconscionable.
  22         312. Plaintiff reserves the right to seek recovery on behalf of additional
  23 persons as warranted as facts are learned in further investigation and discovery.
  24         313. Plaintiff alleges that manageability considerations are not relevant to the
  25 certification of a (b)(2) class. Notwithstanding, Plaintiff alleges that the issues raised
  26 herein are identical, and the answers the same, to all class members and that
  27 management of the claims is likely to present significantly fewer difficulties than
  28
                                       -54-
                         COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 55 of 58 Page ID #:55



   1 those presented in many class claims.
   2         314. If any of the relief herein cannot be had, Plaintiff requests an injunction
   3 that USC provide (1) the Operative Complaint herein to each and every non-
   4 management level employee at USC who signed an “Agreement to Arbitrate Claims,”
   5 (2) to all JAMS offices in the state of California, and (3) each and every JAMS
   6 arbitrator sitting on any USC employment case. Such notice is necessary to ensure
   7 that each and every arbitrator and claimant may assert that need for discovery should
   8 consider whether USC may have engaged in the unfair, unlawful and fraudulent
   9 practices alleges, and whether such should inform each said arbitrator’s affording of
  10 discovery to employee Claimants.
  11
                                      PRAYER FOR RELIEF
  12
             Plaintiff DOE, individually, and on behalf of all others similarly situated
  13
       accordingly prays for the following relief against Defendant UNIVERSITY OF
  14
       SOUTHERN CALIFORNIA, a California nonprofit corporation; and Does 1 through
  15
       20, inclusive:
  16
                           On the First and Second Causes of Action
  17
                                    Plaintiff DOE Individually
  18
  19
             (1)    For compensatory damages;
  20
             (2)    For all attorneys’ fees incurred;
  21
             (3)    For all costs of suit;
  22
             (4)    For injunctive relief;
  23
             (5)    For such other and further relief as the Court deems just and proper.
  24
  25
  26
  27
  28
                                        -55-
                          COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 56 of 58 Page ID #:56



   1                            On the Third Cause of Action
   2                             Plaintiff DOE Individually
   3
   4       (1)   For compensatory damages;
   5       (2)   For special and general damages;
   6       (3)   For punitive damages;
   7       (4)   For all attorneys’ fees incurred;
   8       (5)   For all costs of suit;
   9       (6)   For injunctive relief;
  10       (7)   For such other and further relief as the Court deems just and proper.
  11
                               On the Fourth Cause of Action
  12
                                 Plaintiff DOE Individually
  13
  14
           (1)   For compensatory damages;
  15
           (2)   For special and general damages;
  16
           (3)   For all costs of suit;
  17
           (4)   For injunctive relief;
  18
           (5)   For such other and further relief as the Court deems just and proper.
  19
  20
                                On the Fifth Cause of Action
  21
                                 Plaintiff DOE Individually
  22
  23
           (1)   For rescission of contract;
  24
           (2)   For avoidance of contract;
  25
           (3)   For reformation of contract;
  26
           (4)   For orders enjoining enforcement of the contract;
  27
           (5)   For all costs of suit;
  28
                                     -56-
                       COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 57 of 58 Page ID #:57



   1         (6)     For attorneys’ fees;
   2         (7)     For such other and further relief as the Court deems just and proper.
   3
   4                                On the Sixth Cause of Action
   5               Plaintiff DOE Individually and all others Similarly Situated
   6
   7         (1)     For avoidance of contract;
   8         (2)     For orders enjoining enforcement of the contract;
   9         (3)     For all costs of suit;
  10         (4)     For injunctive relief;
  11         (5)     For attorneys’ fees;
  12         (6)     For such other and further relief as the Court deems just and proper.
  13
       Dated: July 8, 2020                BLADY WORKFORCE LAW GROUP APC
  14
  15
                                             /s/ Benjamin Blady
  16                                      I. Benjamin J. Blady
  17                                      ATTORNEYS FOR
                                          Plaintiff DOE, individually, and for
  18                                      PEOPLE OF THE STATE OF CALIFORNIA
  19
       Dated: July 8, 2020                LESCHES LAW
  20
  21
                                            /s/ Levi Lesches
  22                                      Levi Lesches
  23                                      ATTORNEYS FOR
                                          Plaintiff DOE, individually, and for
  24
                                          PEOPLE OF THE STATE OF CALIFORNIA
  25
  26
  27
  28
                                         -57-
                           COMPLAINT — JURY TRIAL DEMANDED
Case 2:20-cv-06098-JAK-AGR Document 1 Filed 07/08/20 Page 58 of 58 Page ID #:58



  1                                 — JURY DEMAND —
  2 Plaintiff hereby demands a jury trial with respect to all issues triable by jury.
  3
  4 Dated: July 8, 2020               BLADY WORKFORCE LAW GROUP APC
  5
  6                                      /s/ Benjamin Blady
                                      I. Benjamin J. Blady
  7
                                      ATTORNEYS FOR
  8                                   Plaintiff DOE, individually, and for
                                      PEOPLE OF THE STATE OF CALIFORNIA
  9
 10 Dated: July 8, 2020               LESCHES LAW
 11
 12                                     /s/ Levi Lesches
 13                                   Levi Lesches
                                      ATTORNEYS FOR
 14                                   Plaintiff DOE, individually, and for
 15                                   PEOPLE OF THE STATE OF CALIFORNIA

 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                        COMPLAINT — JURY TRIAL DEMANDED
